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 7
                             UNITED STATES DISTRICT COURT
 8                 CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 9   TENSOR LAW P.C., a California                        Case No.
10   Corporation,
                                                          Assigned for all purposes to:
11                   Plaintiff,
             vs.
12
     MICHAEL F. RUBIN, an individual;                     VERIFIED FIRST AMENDED COMPLAINT
13                                                        FOR:
     HARVEY WEINSTEIN, an individual;
14   THE WEINSTEIN COMPANY LLC, a
     Delaware LLC; K2 INTELLIGENCE LLC,                   1. TORTIOUS INTERFERENCE WITH A
15   a Delaware LLC; LINDA FAIRSTEIN, an                     CONTRACTUAL RELATIONSHIP
     individual; BC STRATEGY UK LTD, a
16   UK Limited Company; and DOES 1-50                    2. TORTIOUS INTERFERENCE WITH A
                                                             PROSPECTIVE ECONOMIC
17                                                           ADVANTAGE
18                   Defendants.
                                                          3. PRACTICING LAW WITHOUT
19                                                           LICENSE – VIOLATION OF
                                                             CALIFORNIA BUSINESS &
20                                                           PROFESSIONAL CODE §6126

21
                                                          JURY TRIAL DEMANDED
22
                                                          Action Filed: February 20, 2018
23                                                        CMC:
24                                                            Location:
                                                              Time:
25                                                        Trial Date:

26

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  1

  2          COMES NOW Plaintiff, TENSOR LAW P.C. and complains of Defendants MICHAEL

  3   F. RUBIN, an individual; HARVEY WEINSTEIN, an individual; and THE WEINSTEIN

  4   COMPANY a New York Corporation with offices in Los Angeles, California, as well as DOES

  5   1-50, inclusive as follows:

  6

  7                                           I. INTRODUCTION

  8

  9          1.        This is a matter wherein MICHAEL F. RUBIN (hereinafter “RUBIN”), a New

 10   York attorney, acted to interfere with Plaintiff TENSOR LAW P.C.’s (hereinafter “TLPC”)

 11   contractual business interests in the representation of its client Paz De La Huerta, and to hinder

 12   TLPC’s efforts to advance criminal and civil prosecution of WEINSTEIN for sexual assault

 13   against De La Huerta. The only beneficiaries of these alleged acts by RUBIN are HARVEY

 14   WEINSTEIN (hereinafter “WEINSTEIN”), who has been a leading figure in the Film Industry,

 15   and his Corporation, THE WEINSTEIN COMPANY (hereinafter “TWC”).

 16          2.        While every Defendant is entitled to the best defense through the legal system,

 17   WEINSTEIN and TWC instead benefitted from actions of a criminal defense attorney – Michael

 18   F. Rubin – who falsely and under secrecy, represented himself to TLPC’s client De La Huerta as

 19   a victim’s rights advocate. On information and belief, RUBIN actually acted for the benefit of

 20   WEINSTEIN and TWC – to interfere by a series of harmful subterfuges, threats, and extortion

 21   demands, entirely outside the legitimate strictures of the legal system. In this plan, RUBIN acted

 22   secretly to a) mislead De La Huerta into believing RUBIN was supporting her case, while in fact

 23   he was working to b) ruinously expose her medical records to the public, c) convince her to

 24   proceed without any representation, and to d) withdraw her complaint against WEINSTEIN. As a

 25   result of these acts – and despite TLPC’s success at protecting De La Huerta herself - Tensor Law

 26   P.C., whose representation De La Huerta terminated, suffered harms for which it now seeks

 27   redress.

 28          3.        Because of the very large number of litigations commencing and pending against
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  1   WEINSTEIN and TWC, these entities commenced a series of pre-emptive and disruptive tactics

  2   including: a) the use of Mossad agents (former Israeli Intelligence) to investigate and intimidate

  3   victims, and b) use of tactics of persons they hired working under false pretenses to befriend and

  4   co-opt expected plaintiffs (such as Rose McGowan) who had been assaulted by WEINSTEIN, in

  5   order to c) block, interfere with and gain an undeserved and unfair advantage over as part of d) a

  6   vast multi-million dollar effort to prevent or minimize the success of those who had been

  7   assaulted in their efforts to seek redress. This effort to interfere with and disrupt the normal

  8   operations of the legal system included retaining some of the most prominent and respected

  9   attorneys in the country including David Boies (who represented the New York Times even as

 10   Boies hired sub-rosa agents to undermine and intimidate New York Times reporters) and Lisa

 11   Bloom daughter of Gloria Allred – even as Allred moved to represent many of the victims of her

 12   daughter’s client. Thus, at the current moment, after the expenditure of several million dollars to

 13   undermine and preempt legal efforts against him, more than 80 women have complained of

 14   sexual assaults by WEINSTEIN – including numerous rapes -, but no criminal prosecutions have

 15   commenced and very little has moved forward on a civil basis.

 16          4.        Michael Rubin is a specialist in the criminal defense of rapists. The website for his

 17   law firm Kelly & Rubin LLP has a section for personal injury that lists nine categories of personal

 18   injury but for which seven have categories have no link or actual webpage (see Exhibit A). In

 19   addition, he has a page for criminal defense wherein all six categories have active links and

 20   associated webpages including a page for sexual assault. Uniquely, he additionally has a separate

 21   web page offering to defend those who rape children with Visa, Mastercard and American

 22   Express logos at the top, see figure 1 below, or if not taken down:

 23          http://www.kellyrubin.com/Criminal-Law/Sexual-Assault/Child-Sex-Crimes.shtml

 24   In particular RUBIN features a general remedy of filing false arrest actions against the New York

 25   Police Department and malicious prosecution against the New York District Attorney.

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      Figure 1 – Child Sex Crimes Page of website of Kelly & Rubin, LLP
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             5.        RUBIN is a well known public figure because he is formerly an assistant district
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                                                      -12-
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  1   attorney in the Bronx and he is a famous public figure because of his work in the defense of a

  2   heinous serial rapist, Fletcher A. Worrell, wherein Rubin and his efforts to derail the prosecution

  3   were extensively covered in a series of New York Times articles. He battled against the extension

  4   of the statute of limitations for rape. The exact extension that forms the basis for De La Huerta’s

  5   case against WEINSTEIN:

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      Figure 2 – New York Times Report of January 2, 2006 about the impact of DNA technology on
 28   the statute of limitations for rape

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  1           6.        As detailed below, RUBIN pursues an aggressive policy to obtain clients which

  2   will include secret and surreptitious aggressive contacts with already-represented clients and cold

  3   calls to arrange referrals to potential clients identified through the news feed that comes through

  4   his web site and other sources. RUBIN holds himself out to be the most experienced,

  5   knowledgeable and successful defender of rapists in New York, with numerous personal contacts

  6   inside the New York County District Attorney’s office.

  7           7.        When RUBIN learned that WEINSTEIN was under criminal investigation for rape

  8   in New York, he can be reasonably expected to have contacted individuals who were in a position

  9   to communicate with WEINSTEIN’s defense team and the TWC defense team to offer his

 10   superior expert defense attorney services. These services for which he professes to be among the

 11   leading experts are for a) the derailment of any grand jury indictment for rape and – if

 12   unsuccessful in preventing indictment – b) for the best possible defense representation in New

 13   York.

 14           8.        Certainly, for a defense attorney who represents himself as a leading specialist in

 15   defending New York rapists, an opportunity to associate himself publicly with WEINSTEIN –

 16   aside from the remunerative possibilities - would greatly enhance his standing in the segment of

 17   the public most important to his business and to whom his marketing is directed. However,

 18   shortly thereafter, he contacted Paz De La Huerta to falsely and fraudulently offer his expertise to

 19   “help assure success” in her criminal charges against WEINSTEIN.

 20           9.        RUBIN first instructed De La Huerta to keep all communications between himself

 21   and her absolutely secret from everyone and most importantly not to inform her attorney –

 22   FILLER– of any of his contacts with her, nor of the actions he would instruct her to carry out.

 23   During this time, he provided false information – such as informing De La Huerta that she must

 24   urgently and immediately terminate representation by TLPC because TLPC could not act on her

 25   behalf in New York – e.g. tainting her case by practicing law without a license in New York. This

 26   was obviously untrue because TLPC partner Alex R. Straus, Esq. is an experienced New York

 27   licensed attorney (NY Bar #5175419). This was defamatory and false although he informed De

 28   La Huerta that he had carefully researched this fact and that it mandated her to terminate counsel
                                                       -14-
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  1   immediately and become unrepresented rather than risk false representation by TLPC.

  2          10.    If RUBIN’s research extended as far as looking at the TLPC website, then this was

  3   a provably knowing falsehood. If he made this assertion without even looking at the website, then

  4   it was reckless and wanton and so goes beyond being negligent and unknowing. This was a false

  5   and defamatory allegation of gross misconduct against TLPC, made to undermine the confidence

  6   of De La Huerta and to cause her to panic into terminating TLPC. RUBIN knew he was lying at

  7   the time he put this in writing in a communication to De La Huerta. His purpose was to

  8   undermine TLPC’s attorney-client relationship and to stampede De La Huerta into a frantic act

  9   that would harm her and harm her efforts to seek justice from WEINSTEIN. It would disrupt a

 10   proceeding – the motion before Judge Charles Solomon - which was part of the Grand Jury

 11   proceeding. In this fashion, RUBIN used a falsehood to attempt to disrupt the Grand Jury process.

 12          11.    After this series of efforts to damage and humiliate De La Huerta, RUBIN

 13   informed her, on November 12, she had no case and should withdraw her allegations against

 14   WEINSTEIN. On information and belief, he then went on to advise the New York District

 15   Attorney not to indict WEINSTEIN. During the course of these actions, De La Huerta’s attorney

 16   Filler, at TENSOR LAW PC did discover RUBIN’S activities and commenced an investigation of

 17   RUBIN. De La Huerta also did not follow RUBIN’s advice to withdraw her complaint, but did

 18   terminate TLPC’s representation in this matter – although continuing to retain TLPC as to other

 19   prior matters. Without first seeking to review any case files of De La Huerta’s attorney FILLER,

 20   RUBIN made calls to the Manhattan District Attorney assigned to the De La Huerta matter,

 21   Maxine Rosenthal, with false and discouraging advice, leading to the abrupt halt of progress

 22   toward indictment of WEINSTEIN. De La Huerta then retained Carrie Goldberg, Esq. – a

 23   specialist in the protection of the privacy of sexual assault victims. Although RUBIN knew

 24   Goldberg had been retained on November 8, he continued his secret efforts including travelling to

 25   Spain to meet with De La Huerta and interview her extensively on November 12. This allowed

 26   him to obtain extensive confidential information from De La Huerta, and during this period,

 27   convincing De La Huerta to keep his actions secret from her new specialist attorney Goldberg, as

 28   well, at least through November 12, 2017 when Filler learned of RUBIN’s actions and
                                                   -15-
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  1   subsequently informed Goldberg.

  2          12.     Because more than 80 individuals around the country have reported being victims

  3   of WEINSTEIN and because thousands have experienced work related, or power imbalance

  4   sexual assault that have been brought to light because of the events related to WEINSTEIN, there

  5   has been intense media interest. Media in the WEINSTEIN matter has a capability to disarm or at

  6   least provide some balance to pressure from the multi-million dollar high power WEINSTEIN

  7   defense machine. Further media coverage is a means by which witnesses may become aware of

  8   assaults and thereby come forward to help corroborate what has taken place. It is additionally a

  9   means by which victims can be made aware of the subterfuges and counter-efforts arrayed against

 10   their efforts to seek justice. RUBIN additionally convinced De La Huerta that she must have no

 11   media coverage and must not put any pressure on the NY DA’s office to proceed with her case.

 12          13.     Importantly, this case also turns on the nearly successful efforts of RUBIN to

 13   cause a waiver of De La Huerta’s patient-psychotherapist privilege and to gain personal

 14   possession of these records, thus releasing hundreds of pages of intensely personal details to the

 15   public. This sort of action – as RUBIN and WEINSTEIN both are likely aware – is exactly the

 16   reason why many women will not seek criminal prosecution of a rapist. This included an effort by

 17   RUBIN, to the benefit of WEINSTEIN, to falsely represent himself as her attorney to attempt to

 18   gain control of the records, to attempt to cause De La Huerta to be unrepresented at a critical

 19   juncture, and to attempt to interfere with a proceeding in relation to a New York Grand Jury.

 20                                              II. PARTIES

 21          14.     Plaintiff Tensor Law P. C. (hereinafter “TLPC”) is a California licensed Law

 22   Corporation with whose Managing Partner is Aaron G. Filler, Esq. and who is also a licensed

 23   physician in both California and New York who maintains a neurosurgical practice and a law

 24   practice. FILLER’s law firm – Tensor Law P.C. - includes partner Alex Strauss, Esq. who is a

 25   New York Licensed attorney and Chanel Katiraie, Esq, a California attorney. FILLER was

 26   retained by a California resident and prominent actress – Paz De La Huerta – to represent her in a

 27   matter in which Lionsgate is the defendant. This matter is currently pending as a petition for

 28   review before the Supreme Court of California (S245626). Under the agreement between FILLER
                                                     -16-
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  1   and De La Huerta, he represents her on various other matters under the condition that he agrees to

  2   the representation. On this basis, De La Huerta contacted TLPC on October 14, 2017 asking for

  3   representation in regard to allegations including two rapes by Harvey WEINSTEIN occurring in

  4   New York and a sexual exposure episode occurring in Los Angeles and TLPC agreed to provide

  5   representation. As is thoroughly demonstrated by public actions, under the intense pressure that

  6   ensued – De La Huerta and TLPC acted in the context that any interruption of representation by

  7   TLPC in regard to WEINSTEIN would be abandonment and TLPC agreed to continue to provide

  8   full representation for her including the services of the firm through its New York licensed

  9   partner Alex Straus. Filler also maintains a background physician –patient relationship with De

 10   La Huerta in California, and New York and through his UK GMC licensure – throughout

 11   European Union and Commonwealth countries.

 12          15.     Defendant, Michael F. Rubin, Esq. is a New York & New Jersey Licensed attorney

 13   whose practice, Kelly & Rubin LLP, is located at 40 Wall Street, 25th Floor, New, NY 10005.

 14   RUBIN is a former criminal prosecutor who worked as an assistant District Attorney in the office

 15   of the Bronx County District Attorney (1986-1991). He is the subject of a number of news reports

 16   because of his representation of a serial rapist, Fletcher Worrell, who was among a number of

 17   rapists and child rapists he has represented. He further established himself as a public figure by

 18   speaking out in the New York Times to oppose extension of the statute of limitations for rape. He

 19   does not represent De La Huerta but attempted to obtain a physical copy of two years of De La

 20   Huerta’s detailed psychotherapist records from therapist SueAnne Piliero, PhD, which action - if

 21   he had succeeded - would have waived De La Huerta’s patient psychotherapist privilege to

 22   prevent public access to these very private records. RUBIN is sued herein as an individual or as

 23   an agent of an Undisclosed Principal if proof of agency can be established, see Klinger v.

 24   Modesto Fruit Co. 107 Cal.App 97, 100 (1930); Luce v. Sutton 115 Cal.App.2d 428, fn 4 (1953),

 25   Schnier v. Percival 83 Cal.App 470, 479 (1927) and Patterson v. Dominos Pizza LLC 60 Cal.4th

 26   474, 492 (2014).

 27          16.     Defendant Harvey WEINSTEIN is an accused serial rapist who alleges that all of

 28   the reported sexual assaults were in fact consensual and he is named as a potential undisclosed
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  1   principal of Defendant RUBIN in this action at this time. FILLER’s client Paz De La Huerta has

  2   alleged rape and sexual exposure by WEINSTEIN. WEINSTEIN has been the CEO of MiraMax

  3   films and THE WEINSTEIN COMPANY which entities engage in production of major motion

  4   pictures. In that role, he has produced a remarkably large number of very successful films which

  5   have garnered numerous Oscars and Golden Globe awards. He has a long well documented

  6   history of hiring former New York Assistant District Attorneys to investigate and undermine

  7   accusers and to intervene both publicly and non-publicly on his behalf. Notably and specifically

  8   this includes former Bronx Assistant District Attorney Daniel Karson. Former ADA Karson was

  9   actively and directly employed by WEINSTEIN to investigate and undermine Ambra Battilana

 10   Gutierrez in 2015 while the New York District Attorney Cyrus Vance was considering whether or

 11   not to pursue an indictment by empanelling a Grand Jury – they ultimately did not indict.

 12   WEINSTEIN is a potential undisclosed principal in this litigation because on information and

 13   belief he arranged through intermediaries to employ and direct the actions of Michael F. Rubin -

 14   another former Bronx Assistant District Attorney – in a series of bizarre and inappropriate efforts

 15   to compromise and undermine TLPC’s client De La Huerta in 2017 while the New York District

 16   Attorney was considering whether or not to pursue an indictment by empanelling a Grand Jury.

 17          17.     Defendant The Harvey WEINSTEIN Company, LLC (hereinafter “TWC”) is

 18   named as a potential undisclosed principal of Defendant RUBIN in this action at this time. It has

 19   offices at 9100 Wilshire Blvd, Beverly Hills, California and also at 375 Greenwich Avenue, New

 20   York, NY. It is registered with the Secretary of State, in the State of California under registration

 21   number: #200513810010, having extensive regular business and extensive contacts in the State of

 22   California and is therefore subject to general jurisdiction in the State of California. Actions of

 23   TWC and/or its officers, as well as it’s Manager Frank Gil’s destruction of relevant records,

 24   constitute a substantial part of the subject matter of this dispute and it is properly a potential

 25   undisclosed principal in this case.

 26          18.     Defendant “Black Cube” which is formally B.C. Strategy UK LTD had a contract

 27   with Boies Schiller & Flexner (see Exh. F & H) as an agent for WEINSTEIN with Black Cube as

 28   the sub-agent that was executed in 2017 and which was in effect and included an undertaking to
                                                       -18-
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  1   prepare a report – for WEINSTEIN – by November 10, 2017 (three days after RUBIN’s

  2   attempted interception of De La Huerta’s records). The contract provided for a basic payment of

  3   $200,000 to Black Cube but for an additional $300,000 to be paid if it obtained critical actionable

  4   information, wherein Black Cube would not get the $300,000 and would punitively have to work

  5   for an extra month without pay if it failed to meet its objective by the deadline of November 10,

  6   2017. The company – which employs various former Mossad intelligence agents - has publicly

  7   acknowledged that its efforts were directed at protecting WEINSTEIN from accusations of sexual

  8   assault. The company has acknowledged sending its agent Stella Penn Pechanac, a resident of

  9   Jaffa, Israel, into New York and into California – including to the Venice, California boardwalk

 10   during 2017 – for the purpose of gathering information to protect WEINSTEIN from being called

 11   to account for his alleged sexual assaults. This company’s contract would likely have been the

 12   source of funds payable to RUBIN if the paper copy of the records could have been obtained and

 13   delivered to WEINSTEIN by November 10, 2017 and this deadline appears to explain RUBIN’s

 14   urgent efforts on November 7, 2017 to get a paper copy of the records by November 8, rather than

 15   waiting to receive them from De La Huerta as a PDF at the time of his scheduled November 12

 16   meeting with her in Spain as he originally planned. The principal company is headquartered in

 17   Tel Aviv, Israel, and the affiliated UK entity holding the contract has offices in London at City

 18   Point, 1 Ropemaker St., Moorgate, London, England, UK, EC2Y 9HT. The principal Israeli

 19   office is at 3 Mazeh Street, Tel Aviv, Israel. The contracted London entity, B.C. Strategy UK

 20   LTD, is properly named as a possible undisclosed principal in this case. Black Cube similarly was

 21   used by WEINSTEIN to investigate and intimidate board members of a charity AmFAR

 22   (American Foundation for AIDS Research) and therefore additionally form part of a modus

 23   operandi and pattern of bad acts by WEINSTEIN.

 24          19.     Defendant K2 Intelligence, LLC is an investigative firm founded in 2009 by

 25   Jeremy M. Kroll and Jules B. Kroll (Jeremy’s father) which typically does corporate

 26   investigation, but which WEINSTEIN employed to investigate the model Ambra Battilana

 27   Gutierrez for the purpose of convincing the New York District Attorney that an indictment of

 28   WEINSTEIN for his alleged Gutierrez assault should be abandoned based on their investigations
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  1   of her past behavior and actions. The firm employs numerous former Manhattan Assistant District

  2   Attorneys (Robert Brenner, Jordan Arnold, Paul E. Ryan, Charles Lineham) as well as numerous

  3   former NY Police Department detectives. Jules B. Kroll – the founder – is a former New York

  4   Assistant District Attorney. He also founded Kroll Associates – later Kroll Inc, sold to Marsh &

  5   Maclennan in 2004 – which employs Daniel Karson as a Director of Investigations. Like

  6   RUBIN, Karson is also a former Bronx Assistant District Attorney – who directly handled the

  7   distribution of undermining information about Ambra Battilana Gutierrez to media in 2015.

  8   Karson has worked to show that Cyrus Vance – New York County District Attorney – is not

  9   compromised by the campaign funds that Vance received from WEINSTEIN.

 10          20.     During the period when the NY DA was considering an indictment of

 11   WEINSTEIN in the Gutierrez matter, K2 Intelligence staff had direct communication access to

 12   NYPD detectives and district attorneys in the NY DA sex crimes unit to whom they provided

 13   their findings. They also worked with media to place stories tending to bring Gutierrez’s

 14   credibility into question. This company is believed to have been involved as an intermediary

 15   between WEINSTEIN or some other undisclosed principal and RUBIN so that they would be

 16   undisclosed agents and RUBIN would be their sub-agent. K2 Intelligence has offices at 845 Third

 17   Avenue, in New York City, and it is properly a potential undisclosed principal in this case.

 18          21.     Defendant Linda Fairstein is a New York attorney, author, and former Chief of the

 19   New York County District Attorney’s Office - Sex Crimes Unit who retired from that post in

 20   2001. Out of an interest in developing films, she subsequently became an associate of

 21   WEINSTEIN. In 2015, Fairstein –acting on WEINSTEIN’s behalf in relation to an effort to

 22   disrupt a prosecution of WEINSTEIN for sexual assault - arranged for a meeting between

 23   WEINSTEIN’s then defense attorney Elkan Abramowitz and the current Chief of the Manhattan

 24   DA Sex Crimes Unit, Martha Bashford. That meeting was a critical event leading the New York

 25   County District Attorney – Cyrus Vance – to decide not to indict WEINSTEIN in the Ambra

 26   Battilana Gutierrez case. FAIRSTEIN at least knows of RUBIN because she has written about

 27   RUBIN’s case – the Fletcher Worrell serial rapist prosecution. In consideration of her recent role

 28   in working to help WEINSTEIN hinder the 2015 Gutierrez matter and her acquaintance with
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  1   RUBIN, she is therefore properly a potential undisclosed principal in this case as a likely

  2   intermediary between WEINSTEIN and RUBIN.

  3          22.     Plaintiff is unaware of the true names or capacities, whether they are individuals or

  4   business entities, of Defendant DOES 1 through 50, and therefore sues them by such fictitious

  5   names and will seek leave of this Court to insert true names and capacities once they have been

  6   ascertained. Among the named possible undisclosed principal defendants – whether principal,

  7   agent, or subagent, direct contact or intermediary – the motivation was to halt criminal indictment

  8   of Harvey Weinstein.

  9          23.     Plaintiff will ask leave of court to amend this Complaint to show such true names

 10   and capacities of such Defendants when the names of such Defendants have been ascertained.

 11   Plaintiff is informed and believes and thereupon alleges that each of the Defendants designated

 12   herein, including DOES, were authorized and empowered by each other to act, and did so act, as

 13   agents of each other, and all of the things herein alleged to have been done by them were done in

 14   the capacity of such agency and whether or not agency is established, they are responsible in

 15   some manner and liable herein by actionable conduct, and that such conduct, was a substantial

 16   factor in causing the injuries to Plaintiff complained of and as hereinafter alleged.

 17                III. JURISDICTION, VENUE & CONFLICT OF LAW ANALYSIS

 18
      1) Events Underlying the Litigation Took Place in California
 19

 20          24.     One of the events giving rise to this complaint took place in Los Angeles,
 21   California in this Central District at the Four Seasons Hotel at 300 South Doheny Drive, Beverly
 22   Hills, California where WEINSTEIN exposed himself sexually to FILLER’s client De La Huerta.
 23   Four Seasons is a Toronto based Canadian entity but it is only the hotel manager. The owner of
 24   the hotel is Burton Way Hotels LLC, of 2020 Century Park East, Ste. 2200, Los Angeles, CA. In
 25   relation to this event, Chanel Katiraie, Esq, an attorney at Tensor Law PC, had prepared a civil
 26   litigation for filing, alleging Assault, Sexual Battery in Violation of Cal Civil Code §1708.5, as to
 27   WEINSTEIN, as well as Negligent Supervision as to THE WEINSTEIN COMPANY.
 28
                                                     -21-
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  1          25.     Additionally, working at its California offices in Santa Monica, California, Tensor

  2   Law PC had prepared civil litigation for filing in New York alleging similar causes of action.

  3   Because the assaults took place in 2010, the California complaint alleged equitable estoppel as to

  4   the statute of limitations, while the New York litigation depended upon success of a criminal

  5   action in order to proceed.

  6
      2) Specific Personal Jurisdiction Over Defendant Michael F. Rubin is Shown to Be Valid
  7

  8          26.     On November 7, Michael F. RUBIN purposely availed himself of the venue of
  9   California, by calling into California to speak to FILLER in his Santa Monica, California office
 10   while a motion was pending. He advised FILLER that he was terminated as counsel, that RUBIN
 11   was taking over immediately and he directed FILLER to halt filing of the California litigation and
 12   to withdraw any motions filed in New York. Through this purposeful availment and ordering the
 13   actions of a California attorney with regard to a California cause of action, the Superior Court of
 14   California has personal specific jurisdiction over RUBIN (see Exhibit C – Declaration of Filler).
 15          27.     Establishment of Specific Personal Jurisdiction over an individual such as RUBIN
 16   in this matter is based on the principles set forth in Bancroft and Masters v. Augusta National
 17   Inc., 223 F.3d 1082, 1087 (9th Cir., 2000) as well as in Pavlovich v. Superior Court, 29 Cal.4th
 18   262, 272 (2002) and Calder v. Jones 465 U.S. 783, 789-791 (1984). As a preliminary matter,
 19   there is a requirement for purposeful availment:
 20

 21      This “specific” jurisdiction exists if (1) the defendant has performed some act or
         consummated some transaction within the forum or otherwise purposefully availed himself of
 22      the privileges of conducting activities in the forum, (2) the claim arises out of or results from
         the defendant's forum-related activities, and (3) the exercise of jurisdiction is reasonable. See
 23      Cybersell, Inc. v. Cybersell, Inc., 130 F.3d 414, 416 (9th Cir.1997).
 24   Bancroft at 1086. In that case, a letter was sent to Virginia, which affected the plaintiff in

 25   California. The finding of jurisdiction was based on the “effects test” established by the U.S.

 26   Supreme Court in Calder v. Jones at, e.g. 789:

 27
         In Calder, the Supreme Court held that a foreign act that is both aimed at and has effect in the
 28
                                                      -22-
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  1      forum state satisfies the purposeful availment prong of the specific jurisdiction analysis. To
         meet the effects test, the defendant must have (1) committed an intentional act, which was (2)
  2      expressly aimed at the forum state, and (3) caused harm, the brunt of which is suffered and
         which the defendant knows is likely to be suffered in the forum state. See Panavision Int'l,
  3
         L.P. v. Toeppen, 141 F.3d 1316, 1321 (9th Cir.1998).
  4   Bancroft at 1087 (emphasis added).
  5          28.     Herein, Plaintiff alleges that Rubin 1) committed an intentional act by calling into
  6   California to falsely “terminate” Filler as counsel for De La Huerta and order the withdrawal of a
  7   court filing; 2) expressly aimed at the forum state by calling a California attorney, at a California
  8   law firm, and ordering that attorney to take certain actions in California; 3) causing harm, the
  9   brunt of which was suffered in California where Filler and TLPC were faced with a burdensome
 10   crisis as they sought to perform their duty to protect their client De La Huerta.
 11          29.     The critical additional test set forth by the Ninth Circuit in Bancroft is termed
 12   “express aiming,” see Bancroft at 1087. The Bancroft court established that:
 13
         [T]he requirement is satisfied when the defendant is alleged to have engaged in wrongful
 14      conduct targeted at a plaintiff whom the defendant knows to be a resident of the forum state.
 15   Bancroft at 1087 (emphasis added). Plaintiff alleges complete proof that RUBIN targeted

 16   FILLER & TLPC with full knowledge that the Plaintiff was in California:

 17      The critical factor was that in sending the letter, the defendant “was purposefully defrauding
 18      [plaintiff] in California.” [Metropolitan Life Insurance Co. v. Neaves,] 912 F.2d [1062,] 1065
         (9th Cir. 1990).
 19
      Bancroft at 1087. The California Supreme Court has clearly endorsed this analysis based on the
 20
      Ninth Circuit Court of Appeals interpretation of U.S. Supreme Court jurisprudence on this issue
 21
      and confirmed that it applies generally for intentional torts directed into California:
 22
         As the majority indicate, the Calder test of minimum contacts based upon conduct expressly
 23      aimed at the forum is not limited to defamation actions. It applies to intentional torts
         generally. (See, e.g., Bancroft & Masters, Inc. v. Augusta Nat. Inc. (9th Cir.2000)
 24
      Pavlovich at 287. Specifically relevant in Pavlovich is the application of this analysis to
 25
      intentional business torts:
 26

 27      Although Calder involved a libel claim, courts have applied the effects test to other
 28      intentional torts, including business torts. (See IMO Industries, Inc. v. Kiekert AG (3d

                                                      -23-
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  1      Cir.1998) 155 F.3d 254, 259–260, 261)
  2   Pavlovich at 270.
  3          30.     For all of these reasons, it is clear that a United States District Court in the Central
  4   District of California will have Specific Personal Jurisdiction over RUBIN.
  5
      3) Location and Headquarters of the Parties are Such That Complete Diversity is Established and
  6
      Diversity Subject Matter Jurisdiction Is Demonstrated
  7
             31.     THE WEINSTEIN COMPANY, LLC (hereinafter “TWC”) has offices at 9100
  8
      Wilshire Blvd, Beverly Hills, California and also at 375 Greenwich Avenue, New York, NY. It is
  9
      registered with the Secretary of State, in the State of California under registration number:
 10
      #200513810010, having extensive regular business and extensive contacts in the State of
 11
      California and is therefore subject to general jurisdiction in the State of California but considered
 12
      as a resident of New York for purposes of establishing diversity jurisdiction, see Hertz Corp v.
 13
      Friend, 559 US 77, 78 (2010).
 14
             32.     WEINSTEIN, upon information and belief, is now, and at all times mentioned
 15
      herein was, an individual, over the age of majority, residing in the City of Los Angeles, County of
 16
      Los Angeles, State of California and in the City of New York, County of New York, State of
 17
      New York who has engaged in the buying and selling of property at least at 518 North Kilkea
 18
      Avenue in Beverly Hills, California and who has extensive regular business activities and
 19
      extensive contacts in the State of California, thereby subjecting him to general jurisdiction in the
 20
      State of California.
 21
             33.     K2 Intelligence, LLC has an office in Los Angeles California at 777 S. Figueroa
 22
      St., Los Angeles, CA 90017 and has headquarters in New York at 845 Third Avenue, NY, NY
 23
      10022. A principal of the California office is Jordan Arnold who is a former New York Assistant
 24
      District Attorney. K2 Intelligence will be subject to general jurisdiction in California because it
 25
      has an operating, staffed business unit in California but considered as a resident of New York for
 26
      purposes of establishing diversity jurisdiction, see Hertz, supra.
 27
             34.     BC Strategy UK LTD (Black Cube) dispatched its employee Stella Penn to work
 28
                                                      -24-
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  1   as a secret agent to hold conversations with Rose McGowan and to investigate her including

  2   meeting in Venice, California. Because of this purposeful availment of California by Black Cube

  3   in the specific type of work of interest in the current matter, it will be subject to specific

  4   jurisdiction in California.

  5           35.     K2 Intelligence and The Weinstein Company have California offices located in the

  6   in the Western Division of Central District of California, Harvey Weinstein owns a home in the

  7   Western Division of Central District of California. Because three Defendants and the Plaintiff are

  8   associated with the Western Division of Central District of California, venue is appropriate in the

  9   Western Division of Central District of California United States District Court.

 10           36.     WEINSTEIN is currently believed to be in Scottsdale, Arizona, where he has been

 11   seen repeatedly at an apartment complex at 6895 E. Camelback Rd. The likelihood of Defendant

 12   WEINSTEIN’s arrest if he appears in New York to respond to this suit also makes venue in

 13   California more likely to assure progress of this action as opposed to a venue in New York.

 14           37.     For all of these reasons, the Western Division of Central District of California will

 15   have jurisdiction as to all defendants and venue is appropriate in the Western Division of Central

 16   District of California. Venue is appropriate in California because key elements of RUBIN’s

 17   efforts involved calls by RUBIN into California to affect De La Huerta’s counsel in California.

 18   The CONTRACT interfered with is a California contract made and signed in California between

 19   California Residents. Further, RUBIN interfered with a not-yet-filed lawsuit drawn up by TLPC

 20   attorneys Chanel Katiraie and Aaron Filler which addressed WEINSTEIN’s harassment of De La

 21   Huerta in California and negligent supervision by TWC.

 22           38.     There is complete diversity such that Diversity Subject Matter Jurisdiction is

 23   established because Plaintiff Tensor Law PC is headquartered in California, but Defendant

 24   WEINSTEIN is a resident of New York, Defendant THE WEINSTEIN COMPANY is

 25   headquartered in New York, Defendant K2 Intelligence is headquartered in New York, Defendant

 26   Linda Fairstein is a resident of New York, Defendant BC Strategy UK LTD is headquartered in

 27   London, UK and Defendant BC Strategy LTD (Israel) is headquartered in Tel Aviv, Israel.

 28
                                                       -25-
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  1   4) Choice of Law Is Appropriately California Law as to the Contract Issues Based on Lex Loci

  2   Contractus and Lex Loci Solutionis Principles

  3          39.     The Choice of Law in a Contract case is determined by the principal of Lex Loci

  4   Contractus to the extent that the action concerns the terms and elements of the contract. The

  5   contract at issue was formed in California in that the two parties Aaron G. Filler, Esq. of Tensor

  6   Law P.C. met personally with Paz De La Huerta in the Santa Monica, California offices of Tensor

  7   Law P.C. and the contract was then executed by both parties. At the time of contracting, Filler

  8   was a resident of California and TLPC was a California Corporation (C3789611). Filler was

  9   licensed to practice law in the State of California under State Bar of California License #302956.

 10   Tensor Law P.C. holds a Certificate of Registration with the State Bar of California, Certificate

 11   #21835. Attached as exhibit J is a declaration and as Exhibit K the notarized affidavit of Paz De

 12   La Huerta of June 5, 2015 asserting Domicile in California. The contract was signed on May 29,

 13   2015 (see contract to be filed separately under seal) and a separate Declaration of Domicile

 14   executed by Paz De La Huerta on May 29, 2015 documenting her physical presence in California

 15   at the time of formation of the contract.

 16          40.     Additionally the principal of Lex Loci Solutionis affects disputes relating to the

 17   performance of the contract and the performance – including the preparation of legal filings,

 18   writing of emails, and evaluation of legal precedent and strategy all took place in California. The

 19   last act of performance as to the Weinstein matter was the signing of an agreement for

 20   substitution by Carrie Goldberg, Esq. and the signing similarly was performed in California.

 21          41.      Therefore, to the extent that the case turns on determinations such as whether this

 22   contract applied to the WEINSTEIN related matters, Lex Loci Contractus indicates California

 23   Law. To the extent that the case relies on determining the burdens on performance then Lex Loci

 24   Solutionis indicated California Law.

 25

 26   5) Choice of Law Is Appropriately California Law as to the Tort Issues Based on a Governmental

 27   Interest Analysis

 28          42.     The causes of action for Intentional Interference with Contractual Relations and
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  1   for Intentional Interference with Prospective Economic Advantage are Torts so that Choice of

  2   Law is determined substantially by a governmental interest analysis:

  3
          This governmental interest analysis involves three steps. (1) The court determines whether the
  4       foreign law differs from that of the forum. (2) If there is a difference, the court examines each
  5       jurisdiction's interest in the application of its own law to determine whether a “true conflict”
          exists. (McGhee v. Arabian American Oil Company, supra, 871 F.2d [1412] at p. 1422 ,[(9th
  6       Cir. 1989)], citing Offshore Rental Co. v. Continental Oil Co., supra, 22 Cal.3d [157]at pp.
          161–162 (1978),148 Cal.Rptr. 867, 583 P.2d 721.) When both jurisdictions have a legitimate
  7       interest in the application of its rule of decision, (3) the court analyzes the “‘comparative
          impairment’ of the interested jurisdictions.” (McGhee, supra, 871 F.2d at p. 1422. The court
  8       applies “ ‘ “the law of the state whose interest would be the more impaired if its law were not
  9       applied. ” ’ [Citations.]” (Ibid., italics added, quoting from Offshore Rental Co., supra, 22
          Cal.3d at p. 165, 148 Cal.Rptr. 867, 583 P.2d 721.)
 10

 11   Tucci v. Club Mediterranee, S.A., 89 Cal.App.4th 180,189 (2001). New York and California Law

 12   differ substantively in several areas relevant to this case, so that a formal interest analysis is

 13   necessary.

 14           43.     Firstly, it has been the holding of a series of California Supreme Court rulings

 15   such as Reeves v. Hanlon, 33 Cal.4th 1140 (2004), that Intentional Interference with Contractual

 16   Relations (hereinafter “IICR”) can be pled in the setting of an at will contract while in New York

 17   it is clear that no such cause of action may be pled, see NBT Bancorp, Inc v. Fleet/Norstar

 18   Financial Group, Inc., 159 A.D.2d 902, 911 (1990). The stated grounds for the New York

 19   position is that the elements of IICR in New York require breach of contract and resulting

 20   damages, see Rad Advertising Inc. v. United Footwear Organization, Inc., 154 A.D.2d 309, 310

 21   (1989). Thus, in an at will contract there can only be a “mere expectation” of future benefits so

 22   that no actual damage can be shown. California, by contrast, recognizes that mere interference

 23   that makes the performance of a contract more difficult will be sufficient. Further, California has

 24   established that the use of some means that violates a judicially evaluable standard for the

 25   purpose of convincing an employee to switch to a new employer is actionable, see Reeves, supra,

 26   at 1153. This is because California recognizes a value in a business constituted by its employees

 27   much like any asset, while New York Courts have not fully considered this issue. California

 28   Courts have expressed a strong interest in this issue while New York Courts are largely silent on

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  1   this or dismiss the issue without discussion.

  2           44.      Plaintiff does argue that the contract at issue was not “at will” at the time it was

  3   interfered with because a motion was pending before a court. Thus, neither party had the power to

  4   terminate at will without approval of a court or the execution of a substitution/change of counsel

  5   agreement. Otherwise, the client would have carelessly gone from unrepresented to pro se just as

  6   a hearing was about to proceed in relation to a complex legal matter of extremely high importance

  7   to the client and to the courts. However, New York law requires an actual breach to establish the

  8   tort, but California has longstanding law that finds sufficient interference from acts that make a

  9   contract more burdensome to perform, see for California elements - Pacific Gas & Electric Co. v.

 10   Bear Stearns & Co., 50 Cal.3d 1118, 1129 (1990) versus for New York elements - Joan Hansen

 11   and Co. Inc v. Everlast Worlds Boxing Headquarters, 296 A.D.2d 103, 111 (2002). This is issue

 12   is similarly a subject for a series of California Supreme Court rulings such as Seaman’s Direct

 13   Buying Service, Inc. v. Standard Oil Co., 36 Cal. 3d 752, 766 (1984) and Lipman v. Brisbane

 14   Elementary Sch. Dist., 55 Cal.2d 224, 232 (1961) – but is little attended to by New York courts.

 15           45.      Further, California courts have tended to eliminate the requirement for wrongful

 16   conduct in establishing IICR where a third party induces one of the parties to breach an at will

 17   contract:

 18       We hold that Reeves's [supra] additional requirement of pleading and proof of an
 19       independently wrongful act in contract interference claims involving at-will employment
          contracts does not apply where, as here, the employee is the alleged victim of a third party's
 20       conduct in inducing its business partner to terminate his or her employment contract.

 21   Popescu v. Apple Inc., 1 Cal.App.5th 39, 62 (2016).
 22           46.      Here because a California law firm and California contract were interfered with,

 23   California has a strong interest in protecting the California rights of its citizen and resident

 24   corporation. New York, by contrast would be asked to express its interest in protecting a New

 25   York attorney engaged in fraud and deceit with obvious purpose of harming a client. For these

 26   reasons, at very least based on the facts as pled, California Law should be chosen in a Conflict of

 27   Laws analysis for this tort in this case.

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                                                       -28-
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  1           47.       Finally, California has an extensive series of cases that formulate the implied by

  2   conduct basis for establishing agency (see Thayer v. Pacific Elec. Ry. Co. 55 Cal.2d 430, 438

  3   (1961); Pollack v. Lytle 120 Cal.App.3d 931, 940 (1981); Scholastic Book Clubs Inc. v. State Bd.

  4   Of Equalization 207 Cal.App.3d 734, 738 (1989); Michelson v. Hamada 29 Cal.App.4th

  5   1566,1579 (1994); Bergtholdt v. Porter Bros Co. 114 Cal. 681, 685 (1896)) wherein this is

  6   virtually absent in New York law. Additionally California has been concerned with the power of

  7   an undisclosed principal wherein a subterfuge is the basis for effecting coordinated action against

  8   individual California citizens, see Klinger v. Modesto Fruit Co. 107 Cal.App 97, 100 (1930)

  9   where individual farmers were manipulated by apparently independent local fruit buyers, when in

 10   fact the various buyers were acting on behalf of a large fruit processing corporation which was

 11   undisclosed to the farmers for purposes of taking advantage of them. California has a strong

 12   interest in applying the principles of implied contract when establishing undisclosed agency, see

 13   Del E. Webb Corporation v. Structural Materials Co., 123 Cal.App.3d 593, 611 (1981) while

 14   New York courts have simply attended little to this area of public concern.

 15           48.       For all of these reasons, a governmental interest analysis for conflict of laws

 16   reveals that a far greater interest is validated for application of California Law in the situation of

 17   this case.

 18                                      IV. FACTUAL ALLEGATIONS

 19
       A. Events Leading To Client De La Huerta’s Causes of Action Against WEINSTEIN and
 20
                                         THE WEINSTEIN COMPANY
 21

 22           49.       Plaintiff’s client, Paz De La Huerta has publicly alleged that her strictly
 23   professional relationship began with WEINSTEIN when she was 14 years old in 1999.
 24   WEINSTEIN was working for the Company Miramax. Miramax produced the film “Cider House
 25   Rules” in which De La Huerta was employed as an actress. Subsequently, the client’s residence
 26   was in the same Tribeca neighborhood of Manhattan, New York, in which both TWC’s offices
 27   were located and where WEINSTEIN was residing. TLPC’s position continues to be that De La
 28
                                                        -29-
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  1   Huerta has made public statements, which together with evidence located by her and by TLPC

  2   make a compelling case for indictment of WEINSTEIN on criminal charges. A determination on

  3   this issue is still pending before the New York County District Attorney. The dates and locations

  4   recited below are based on public information available to Plaintiff on or before November 9,

  5   2017 and may not reflect further information subsequently developed by the New York Police

  6   Department, the New York District Attorney’s Office, De La Huerta’s current counsel Carrie

  7   Goldberg, Esq., or by De La Huerta.

  8

  9   1) Initial Assault on December 7, 2010

 10

 11          50.     On December 7, 2010 Plaintiff’s client De La Huerta encountered WEINSTEIN at

 12   a lounge called “Top of the Standard” (aka Boom Boom Room) on the High Line located in

 13   Manhattan, New York, because both were attending a party at that location celebrating the

 14   opening of a movie called Blue Valentine. De La Huerta and WEINSTEIN were neighbors who

 15   did recognize each other occasionally – as at grocery stores or cafes as well as having a prior

 16   employee/employer relationship from 1999.

 17

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 15
      Figure 3 – Photos of WEINSTEIN and De La Huerta at Blue Valentine afterparty 12-7-2010
 16
             51.     According to De La Huerta’s public statements, WEINSTEIN offered De La
 17
      Huerta a ride home to Tribeca which De La Huerta agreed to. On the way to De La Huerta’s
 18
      home, WEINSTEIN continuously pressured De La Huerta to have a drink with him. Upon
 19
      reaching De La Huerta’s home, WEINSTEIN insisted on coming up to De La Huerta’s apartment
 20
      to avoid discussing business and personal matters in the public lobby of De La Huerta’s
 21
      apartment building. Once inside of De La Huerta’s apartment, WEINSTEIN made warnings to De
 22
      La Huerta about harm to her career if she did not submit to sex, then forced himself on De La
 23
      Huerta and raped De La Huerta.
 24
             52.     In her public statements, Plaintiff’s client Paz De La Huerta alleges that
 25
      WEINSTEIN or an employee of TWC then called De La Huerta’s cellphone at least several times
 26
      over the following two weeks. WEINSTEIN would tell De La Huerta that he was waiting outside
 27
      of her apartment building in his vehicle or in the lobby of the building waiting for her. De La
 28
                                                     -31-
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  1   Huerta would avoid his calls, and avoid returning to her home until she could confirm with the

  2   doormen that he had left the premises. WEINSTEIN continued this behavior through the two

  3   weeks after raping De La Huerta.

  4   2) Corroboration of First Assault

  5          53.     According to news reports, WEINSTEIN had a protective program for his assaults

  6   which included seeking to have a photograph taken with his prior victim, following any assault.

  7   When the October 5, 2017 report in the New York Times by Jodi Kantor caused a furore about

  8   the assaults, WEINSTEIN produced a number of such photographs to the board of directors of

  9   THE WEINSTEIN COMPANY for the purpose of showing that these photographs would derail

 10   any criminal or civil action against him. WEINSTEIN procured such a photograph with De La

 11   Huerta, one week after the first rape:

 12

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 25

 26
      Figure 4 – Photo of WEINSTEIN with De La Huerta on 12-13-2010
 27
             54.     TLPC located and presented the December 7th, 2010 photographs to the NYPD to
 28
                                                    -32-
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  1   show the date of the first assault and to prove the veracity of De La Huerta’s statements to the

  2   NYPD. TLPC located and presented the December 13th, 2010 photo to the NYPD to prove that

  3   WEINSTEIN had developed a direct interaction with WEINSTEIN. Further TLPC asserted that

  4   in the light of the revelation of WEINSTEIN’s defensive modus operandi (obtaining public, post-

  5   assault photographs for defensive purposes), this provided prima facie evidence of an active

  6   cover-up by WEINSTEIN tending to prove an assault from which he believed he would need a

  7   defense. The December 13th photos are the only time these two persons have been photographed

  8   together.

  9   3) Second assault on December 23, 2010

 10
             55.       Additionally, in her public statements, Plaintiff’s client De La Huerta states that
 11
      shortly thereafter, on December 23, 2010, De La Huerta received a phone call from WEINSTEIN
 12
      while she was at work doing a professional photo-shoot wherein he again stated that he was
 13
      waiting outside her building and insisted he would remain there until he she got home. The
 14
      photographer is able to corroborate at least the date. De La Huerta has reported in her public
 15
      statements that she decided to confront WEINSTEIN to point out that she viewed this as stalking
 16
      and that he was to leave her alone, but out of stress and alarm, commenced drinking heavily on
 17
      the way home to her apartment.
 18
             56.       She has stated that she did confront WEINSTEIN, again waiting at the lobby of
 19
      her home when she returned home. De La Huerta told WEINSTEIN to leave, to which
 20
      WEINSTEIN “hushed” her and insisted that they speak in a private place, promising that they
 21
      would be able to resolve this discussion in her apartment. Upon reaching De La Huerta’s
 22
      apartment, WEINSTEIN again raped her using overpowering physical force. WEINSTEIN left
 23
      immediately after he raped De La Huerta, leaving her in a state of absolute shock, humiliation,
 24
      embarrassment, and pain.
 25
             57.       Following this confrontation and attack, however, WEINSTEIN did cease his
 26
      series of direct contacts, personal calls, and calls by his office staff directed at arranging to meet
 27
      De La Huerta at her New York apartment as well as ceasing all uninvited visits to her building.
 28
                                                       -33-
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  1   Following media reports in November of 2017, additional witnesses came forward to corroborate

  2   WEINSTEIN’s presence in De La Huerta’s apartment building and at the door of her room with

  3   De La Huerta.

  4   4) Event in Los Angeles

  5

  6          58.      Subsequently, about four weeks later, when De La Huerta was in Los Angeles in

  7   relation to the Golden Globe awards, WEINSTEIN was visiting, on information and belief, the

  8   Four Seasons Hotel on South Doheny Drive in Beverly Hills, California having drinks with

  9   several associates. De La Huerta has reported in her public statements that she received a call

 10   from WEINSTEIN to request that she join him and some of his associates for drinks with him at

 11   the hotel’s lounge.

 12          59.      De La Huerta and her friend Goli Samii who were nearby at the time of receiving

 13   the call, did travel to the Four Seasons hotel and De La Huerta has stated that she did this with the

 14   intent of confronting WEINSTEIN again to accuse him as a stalker and rapist. Samii can

 15   corroborate the occurrence of at least the meeting. Almost immediately – according to De La

 16   Huerta’s statements - WEINSTEIN excused himself from the group and did not return. Shortly

 17   thereafter, a concierge of the hotel gave De La Huerta a note indicating that it was from

 18   WEINSTEIN, requesting her presence in his hotel room for any substantive discussion. De La

 19   Huerta has reported that WEINSTEIN opened the door, wearing an opened bathrobe thereby

 20   prominently exposing himself. De La Huerta told WEINSTEIN that was inappropriate behavior

 21   and complained to him of his prior bad behavior and quickly left the vicinity of WEINSTEIN’s

 22   room feeling embarrassed, shocked and humiliated, rejoining her associate Samii in the lobby and

 23   thereupon departing.

 24          60.      De La Huerta was extremely upset by the events and has been publicly

 25   documented as drinking very heavily on or around the date of the Los Angeles encounter in

 26   consequence of this further upsetting event. She has stated that over the following months she

 27   engaged in a stream of self-destructive behavior – much of which is well documented by media

 28   reports.
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  1   5) Post Assault Retaliation by WEINSTEIN Against De La Huerta to Punish Her for Her

  2   Condemnation of His Rapes

  3

  4          61.     At the time of the attacks, De La Huerta was in the second season of filming for

  5   Boardwalk Empire. Following these events, her contract for additional episodes and seasons of

  6   Boardwalk Empire was not renewed, although no reason was ever given by HBO for this

  7   discontinuation. On information and belief, TLPC here alleges that it believes that retaliatory

  8   action by WEINSTEIN played a critical role in the termination. Additionally and in consequence,

  9   De La continued to be fearful of further career harm throughout the film industry, if she

 10   proceeded with a lawsuit against WEINSTEIN. She subsequently – in 2014 – provided a detailed

 11   account which was reviewed by attorneys representing her at that time but she was too fearful to

 12   allow action to be taken.

 13          62.     De La Huerta has publicly alleged that she had feared to press any charges or file

 14   any lawsuits against WEINSTEIN and TWC, because of statements and warnings made by

 15   WEINSTEIN during the course of the events in late 2010 and early 2011 that lack of cooperation

 16   on her part with his advances would harm her career.

 17          63.     For the reasons set forth in the two prior paragraphs, WEINSTEIN and TWC

 18   would be equitably estopped from asserting the statute of limitations in the event that De La

 19   Huerta proceeds to file a California action against them. Unlike an employer where a person can

 20   evade future harms by changing employment, WEINSTEIN’s pervasive role and impact in the

 21   film industry and awards events left no means to escape or terminate the reach of WEINSTEIN’s

 22   ability to negatively influence her career.

 23

 24   6) Legal Jeopardy Is Attached to THE WEINSTEIN COMPANY as well as to WEINSTEIN so that

 25   Both Were Motivated to Try to Undermine Efforts by Victims to Achieve Justice

 26

 27          64.     TLPC believes, and upon such information and belief states that the criminal and

 28   intentional acts performed by Harvey WEINSTEIN have been alleged to have been endorsed by
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  1   THE WEINSTEIN COMPANY or to have been known to TWC in that, for instance, THE

  2   WEINSTEIN COMPANY has been alleged to have funded hotel rooms wherein WEINSTEIN

  3   would commit his lewd, forceful and unconsented acts. THE WEINSTEIN COMPANY

  4   additionally has been alleged to have participated in setting up meetings between WEINSTEIN

  5   and De La Huerta with no asserted business purpose, including attempting to direct her to meet

  6   WEINSTEIN at De La Huerta’s home. TWC has also been alleged to have been the sole

  7   possessor of knowledge of a pattern of sexual assaults by WEINSTEIN because of confidentiality

  8   agreements formed to address other past allegations of sexual assaults, whose contents TWC

  9   would have been aware of. For these reasons THE WEINSTEIN COMPANY faces liability and

 10   would share with WEINSTEIN an interest in preventing legal actions seeking retribution,

 11   compensation, and criminal conviction as to WEINSTEIN’s sexual assaults. This would lead a

 12   New York defense attorney specializing in the defense of rapists – e.g. RUBIN – to engage in

 13   actions intended to make TWC aware of his services.

 14

 15                B. Events Leading to DEFENDANTS’ Liability In the Current Action

 16
 17          65.      On October 14, 2017, following the numerous public reports of sexual assaults by

 18   Harvey WEINSTEIN, Plaintiff TLPC was contacted by then current client Paz De La Huerta for

 19   legal advice and representation in regard to the above mentioned assaults by WEINSTEIN. At

 20   that time, Plaintiff TLPC was engaged in several active legal projects on behalf of De La Huerta

 21   which had extended over a period of years.

 22          66.     Plaintiff then agreed to proceed to represent De La Huerta in regard to all matters

 23   in relation to WEINSTEIN under the terms of their existing contingency agreement which

 24   allowed for addition of any project wherein both parties agreed to the representation. These

 25   representations include contract and physical assault litigation against Lionsgate Films and certain

 26   of its personnel, various personal legal matters on behalf of De La Huerta, contract negotiation for

 27   film projects, assistance in the resolution of on-set creative disputes during active filming, and

 28   assistance in developing funding for future projects to be produced & directed by De La Huerta.
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  1          67.     The work in relation to the WEINSTEIN action included the aspects of dealing

  2   with incoming requests from media – such as New York Times reporter Jodi Kantor - who had

  3   learned independently about the WEINSTEIN assaults due to statements made about the assaults

  4   by De La Huerta in 2014, and facilitating the work of Vanity Fair on its report about the

  5   WEINSTEIN assaults. This was in addition to intensive work to develop and investigate the

  6   substantive legal case. The substantive work involved identifying and interviewing various

  7   witnesses, searching for documents and images, examining various databases and researching

  8   locations, times and dates to establish irrefutable corroboration for key elements of the assaults.

  9          68.     In addition, civil filings for New York and for California were drawn up. In light

 10   of the proposed litigation, an additional retainer agreement was drafted to explicitly include the

 11   services and the hourly rates for more recently employed additional attorneys with Tensor Law

 12   PC to be involved in the litigation who were not listed in the original retainer agreement although

 13   this update was not executed by De La Huerta – on information and belief – because RUBIN

 14   warned her not to sign.

 15          69.     As the evidence collection process continued – ultimately involving more than a

 16   hundred hours of intensive legal work – it became apparent to Plaintiff TLPC that the elements

 17   and evidence should be sufficient to support a criminal prosecution. Therefore Plaintiff, on behalf

 18   of De La Huerta, initiated contacts with the New York Police Department on October 24 and 25,

 19   2017 and then subsequently with the office the District Attorney in New York County in relation

 20   to the assaults by WEINSTEIN upon De La Huerta. Because the NYPD and he NYDA expressed

 21   a high level of interest after their initial interviews with De La Huerta and preliminary discussion

 22   of the evidence, the very active and time intensive work by TLPC on evidence development and

 23   identification of witnesses accelerated.

 24          70.     It should be noted that De La Huerta as an artist generally sustained a relationship

 25   with the law firm in which she was not intimately involved in legal details, contents of legal

 26   filings, details of interviews, the identity of various witnesses who contacted the law firm,

 27   evidence development, affidavits, examination of financial and business records, negotiations

 28   with other involved counsel, etc but only maintained a generalized high-level knowledge of the
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  1   details of the case. This was in part to shield her from excessive distraction and anxiety and allow

  2   her to continue to focus on her artistic projects.

  3          71.     The work progressed with a very high level of success. De La Huerta received a

  4   very effective initial report of her story in Vanity Fair on November 2, 2017 which was followed

  5   by highly effective detailed prominent reports in the New York Times, CBS News and CNN,

  6   based on interviews arranged substantially through Tensor Law PC. Further, the NYPD and

  7   NYDA were convinced by the evidence and New York District Attorney Cyrus Vance issued a

  8   press release statement indicating the case was under active investigation. New York Mayor Bill

  9   de Blasio, together with New York Chief of Detectives Robert K. Boyce held a press conference

 10   on November 3rd, expressing a high level of confidence in De La Huerta’s case against

 11   WEINSTEIN. All indications were that a Grand Jury would be convened, and an indictment of

 12   WEINSTEIN was imminent. The NYPD Detectives involved with the case stated a present

 13   readiness to seek an arrest of WEINSTEIN for criminal rape charges.

 14          72.     At this point, RUBIN commenced his successful effort to derail and destroy the

 15   case, relying on subterfuge, misdirection, and misinformation. In addition, he worked to attempt

 16   to cause grievous personal harm to Plaintiff’s client De La Huerta. He was able to simultaneously

 17   mislead and misinform the District Attorney’s office and prevent further communication with the

 18   NYDA by Tensor Law by supplying De La Huerta with a series of false and defamatory

 19   statements causing her to panic and believe she must immediately discharge Tensor Law PC as

 20   counsel and proceed without representation. In addition, without making any effort to obtain the

 21   extensive files and evidentiary materials developed and held by Tensor Law PC in this matter, he

 22   proceeded to advise the NYDA that there was not sufficient evidence for an indictment. His

 23   communications with the NYDA office were also a subterfuge in that he represented himself to

 24   them as counsel for De La Huerta, while at the same time being careful to attempt to avoid

 25   liability by acting to assure that he was not in fact representing her. He later met with De La

 26   Huerta on November 12, in Seville, Spain and advised her she had no case and should withdraw

 27   her police complaint in order to avoid personal ruin.

 28          73.     Because RUBIN issued his advice to the NYDA without first discussing the matter
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  1   with Tensor Law PC or obtaining the case file, it is provable that any advice to the NYDA and to

  2   De La Huerta was not based on and did not consider the full set of evidence held by De La

  3   Huerta’s attorneys at TLPC. He acted as if he was serving in his usual capacity as an experienced

  4   criminal defense attorney serving to the benefit of WEINSTEIN while superficially maintaining a

  5   pretense of representing himself to De La Huerta as a victims support attorney. Even if RUBIN

  6   had occasionally done victims advocate work in the past, his website leaves no doubt about his

  7   primary business in the criminal arena and it makes no mention of the type of services he feigned

  8   to offer to De La Huerta.

  9          74.     An attorney representing WEINSTEIN would be expected to contact the NY DA

 10   and advise them there was no case – without first acquainting himself with the evidence in hand.

 11   An attorney representing WEINSTEIN would be expected to act to hide his undermining

 12   communications with the client. In fact, based on statements by RUBIN to FILLER, RUBIN had

 13   repeatedly advised De La Huerta that he would use his superior knowledge and experience to

 14   assure that she accomplished her goals. However, RUBIN had advised De La Huerta that she

 15   must keep his involvement completely secret from her attorney, FILLER until the moment

 16   arrived when he would give her the go ahead to terminate the TLPC representation, which would

 17   come AFTER he had the psychotherapists records in his physical possession.

 18

 19          C. Actions Of RUBIN to Attempt to Force a Waiver of De La Huerta’s Patient-

 20           Psychotherapist Privilege as to Communications with SueAnne Piliero, PhD

 21   1) At the Time of RUBIN’s Interference TLPC Was In The Midst of Pursuing a Critical

 22   Emergency Action to Defend De La Huerta’s Extremely Important Privacy Interests

 23          75.     The timing for the attempted termination of all counsel for De La Huerta was set to

 24   attempt to disrupt, terminate and interfere with Tensor Law P.C.’s Emergency Motion to Quash

 25   the Subpoena of the New York District Attorney for two years of psychotherapy records

 26   comprising a thousand pages of dense material covering a wide variety of intensely personal

 27   material. The timing was also set to allow RUBIN to attempt to cause a devastating and

 28   irremediable WAIVER of De La Huerta’s Patient-Psychotherapist privilege. The information in
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  1   the records at issue not only affected De La Huerta, but included extraordinarily confidential

  2   information on various friends and associates of De La Huerta which she never imagined would

  3   go beyond her highly confidential and highly protected communications with her therapist. These

  4   efforts also included a brazen and astonishing effort by RUBIN to gain personal possession of the

  5   physical records which would allow him to surreptitiously copy and sell or distribute said records

  6   to WEINSTEIN.

  7          76.     The issue of information held by the psychotherapist SueAnne Piliero, PhD only

  8   arose because of efforts to establish the exact date of the two New York assaults. Ultimately, it

  9   proved possible to identify these dates based on other evidence uncovered by De La Huerta and

 10   by Filler. De La Huerta contacted Piliero on October 17th, 2017 to request a statement as to the

 11   exact date and a contemporary corroboration that a sexual encounter had in fact occurred that

 12   caused severe acute distress to De La Huerta in the fall of 2010.

 13          77.     Piliero responded on October 24th with an email stating that all records from 2010

 14   and 2011 had been on her computer and they were all lost in a hard disk crash, with no backup

 15   and no recovery possible. Therefore, when De La Huerta met with the NYPD on October 25th and

 16   gave consent to access any existing medical records, the consent did not extend to the

 17   psychotherapy records which she believed were destroyed.

 18          78.     Filler scheduled an interview with Piliero on November 6, 2017 at 4pm Eastern

 19   time and informed NY Assistant District Attorney Maxine Rosenthal of the interview. Rosenthal

 20   requested, and Filler agreed that Rosenthal could have the 4 pm appointment, but that he would

 21   interview Piliero at 5pm. Arrangements were made through Piliero’s attorney Bruce Hillowe,

 22   Esq.

 23          79.     However, around 10 pm on November 5th, Piliero discovered that she had been

 24   incorrect about the destruction of the records and that she had now found all of them. Hillowe

 25   then cancelled the Piliero interviews with Rosenthal and with Filler on the grounds they were

 26   unnecessary. Rosenthal then issued a subpoena for all of the found records and Hillowe replied by

 27   stating he had advised Piliero not to comply with the subpoena. Under New York law, the

 28   Patient-Psychotherapist privilege is at an even higher level than the general patient-physician
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  1   privilege and is more comparable to the attorney-client privilege. Rosenthal then responded with

  2   a Judicial “so-ordered” subpoena which would be sufficient to pierce the patient-psychotherapist

  3   privilege. Hillowe indicated he would instruct Piliero to comply, but that it would take 24 hours

  4   to prepare the records. Note that at this point, neither De La Huerta nor her counsel had seen the

  5   records.

  6          80.      After further discussion between Filler and De La Huerta, and between Filler and

  7   Hillowe, Tensor Law planned to file an Emergency Motion to Quash the Subpoena as overbroad.

  8   De La Huerta sought to review the records and withhold any obviously irrelevant information that

  9   might be particularly humiliating, compromising or which might significantly invade the privacy

 10   of another person. Discussions between Filler and Rosenthal on November 6 did not resolve the

 11   issue so Filler informed Rosenthal that the motion would be filed on November 7th by 4:30pm.

 12          81.      In particular, TLPC was concerned by the November 6, 2017 issuance by New

 13   York Chief Administrative Judge of the Courts, Hon. Janet DiFiore of new rules 200.16 and

 14   200.27 of the Uniform Rules of Courts Exercising Criminal Jurisdiction 22 NYCRR Part 200.

 15   This was an order “requiring judges to order prosecutors to search their files and disclosed all

 16   evidence favorable to the defense at least 30 days before major trials” according to a subsequent

 17   report in the New York Times:

 18          https://www.nytimes.com/2017/11/08/nyregion/rule-would-push-prosecutors-to-release-

 19   evidence-favorable-to-defense.html

 20          and see formal details at:

 21          https://www.nycourts.gov/PRESS/PDFs/PR17_17.pdf

 22   The Chief Judge’s intent was to assure that New York Courts were fully in compliance with

 23   Brady v. Maryland, 373 U.S. 83 (1963) and other U.S. Supreme Court decisions intended to

 24   protect rights of defendants and reduce the risk of wrong convictions (see Exhibit B).

 25          82.      After discussing the new rule with Rosenthal on the evening of November 6, 2017

 26   TLPC felt that the subpoena was issued without due concern by Rosenthal for the impact of the

 27   new rule. Because defense attorneys in rape cases will tend to seek any evidence for attacking an

 28   accuser’s reliability, they would likely succeed in getting access to De La Huerta’s entire detailed
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  1   psychotherapy record set if the subpoena was applied as then written. At least in part, the new

  2   rule was intended directly to interfere with e.g. Rosenthal’s past efforts to keep material from

  3   criminal defense attorneys. TLPC believed that his posed a direct unnecessary risk to De La

  4   Huerta’s reasonable privacy concerns.

  5

  6   2) RUBIN Initially Planned to Meet De La Huerta in Spain on November 12 to Discuss Her Case

  7   AFTER She Had Reviewed Her Records with Counsel

  8          83.     De La Huerta first contacted Filler to investigate RUBIN on November 4 and

  9   asked him to review emails from him on an ongoing basis. Historically, De La Huerta has felt she

 10   has been misled by various persons making offers and has employed Filler repeatedly to

 11   investigate those making offers, to provide advice on such offers, and to litigate against such

 12   offerors when she realizes she has been defrauded or misled. In the context of that investigation,

 13   and concerned about a possible fraudulent effort by RUBIN to get protected information from

 14   RUBIN, Filler became aware that RUBIN was proposing to come to Spain on November 12 to

 15   review her case with her after she and her counsel had seen the Piliero records. De La Huerta

 16   again contacted Filler on the morning of November 7 to draw his attention to additional emails

 17   from RUBIN to her and requested Filler’s review and opinion regarding the proposed November

 18   12 meeting.

 19
      3) Rubin Decides to Surreptitiously Intervene and Intercept a Physical Copy of the Records
 20
             84.     RUBIN then abruptly changed his plan on the afternoon of November 7th when
 21
      Hillowe resisted turning over the records to RUBIN personally. Prior to this point, RUBIN had
 22
      directed Paz to keep his involvement secret until AFTER he was able to see the records. Filler
 23
      noted that RUBIN would provably have no privilege and so that De La Huerta’s attorney – TLPC
 24
      - would be interfered with. Effectively, by revealing a subterfuge – that RUBIN was an agent for
 25
      a person adverse to De La Huerta, privilege and confidentiality would be voided. Throughout this
 26
      period RUBIN maintained to De La Huerta that he was not formally offering to be retained by De
 27
      La Huerta until after he reviewed the records.
 28
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  1          85.     Essentially, as under California Rules of Professional Conduct 1.2:220 (and New

  2   York and ABA equivalents), no duty of confidentiality and no attorney client privilege arise when

  3   a duty of loyalty is already owed to an adverse client. Just to assure this, as under California

  4   Rules of Professional Conduct 1.2:230 an attorney is obligated to decline representation if he

  5   believes the case is not meritorious and he conspicuously informed at least third parties present at

  6   the Seville meeting – even at the start of the meeting – that he believed there was no valid

  7   criminal case. It was not the task of De La Huerta, - nor of non-attorney third parties present at

  8   the Seville meeting – to understand complex issues of attorney ethical rules. It was RUBIN’s duty

  9   to avoid the situation, which he in fact aggressively sought – wherein he conducts a detailed

 10   interview with a client that he already believes to have no valid cause of action at the start of the

 11   interview. He should have contacted De La Huerta’s attorney Filler before speaking with her by

 12   phone before November 9th and he should have contacted De La Huerta’s attorney Goldberg

 13   before carrying out a detailed interview with her in person in Seville after November 9th. RUBIN

 14   was fully aware that De La Huerta had just retained expert specialized counsel – Carrie Goldberg

 15   – when he outrageously proceeded with his destructive and harmful subterfuge.

 16          86.     To the extent that RUBIN continued to seek information from De La Huerta on

 17   November 12, 2017, he also interfered with TLPC’s representation of De La Huerta in relation to

 18   TLPC’s representation in the Lionsgate action and the non-disparagement work. Therefore, the

 19   November 12 actions, like the November 7 actions continued to interfere with TLPC’s

 20   performance of its contract with De La Huerta despite explicit and affirmative direct warnings to

 21   RUBIN from TLPC on November 8 and November 9.

 22          87.     Then, abandoning his plan for secrecy, RUBIN purposely availed himself of the

 23   venue of California, by calling into California to speak to FILLER in his Santa Monica,

 24   California TLPC office at approximately 1:10 pm Pacific Time, November 7, 2017. RUBIN,

 25   incorrectly, informed FILLER that FILLER was terminated as counsel to De La Huerta, effective

 26   immediately and that he, RUBIN was now counsel. FILLER informed RUBIN that an

 27   EMERGENCY MOTION TO QUASH A JUDICIAL GRAND JURY SUPBPOENA was due to

 28   be filed in New York Supreme Court by 4:30 Eastern Time – within 20 minutes. RUBIN stated
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  1   that he was aware of this – because of prior discussions he had with Rosenthal - and instructed

  2   that FILLER must stand down from the California filing, and from the New York Motion. If the

  3   Motion had been filed it was to be withdrawn immediately. He stated no time available to discuss

  4   these orders because he had a further phone conference with the District Attorney at 4:15 Eastern

  5   on this matter.

  6          88.        Filler then contacted De La Huerta and consulted on the counsel issue. Based on

  7   those discussion, Filler determined that the RUBIN was engaged in a fraud. He called RUBIN to

  8   confront him with the fact that he was not actually representing De La Huerta, which RUBIN then

  9   admitted. However, he further admitted that he had convinced De La Huerta to terminate

 10   representation by Tensor Law. Filler explained to RUBIN that Tensor Law represented her on

 11   several active matters and had enjoyed excellent appraisal and approval from De La Huerta on all

 12   of these matters up to that hour, that there was no indication of a termination other than his false

 13   statement.

 14          89.        Filler also stated that even if RUBIN had convinced De La Huerta to go

 15   unrepresented, he would advise De La Huerta that because the motion was now filed and pending

 16   before the court – at least under California law – FILLER could not withdraw as counsel unless

 17   the judge either agreed to an emergency withdrawal or if a substitution could be arranged.

 18   FILLER informed RUBIN that he would advise De La Huerta that if she did wish to respect

 19   RUBIN’S advice to terminate Tensor Law as counsel, that she should immediately retain Carrie

 20   Goldberg who would have the greatest knowledge and experience about protecting the privacy of

 21   her records under New York law. Tensor Law would continue to represent until a signed notice

 22   from De La Huerta and a signed substitution from some other counsel such as Goldberg was

 23   received. This was because FILLER had a duty to protect De La Huerta from the severe personal

 24   harm that would befall her if her unfiltered, unredacted therapy records were made public.

 25          90.        RUBIN expressed anger and stated he was on his way to Hillowe’s office to take

 26   personal possession of the psychotherapy records and with that, RUBIN discontinued the

 27   conversation.

 28          91.        Filler then immediately contacted Hillowe to learn of the status of the records.
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  1   Hillowe stated that he had been contacted by RUBIN and that RUBIN had informed him that

  2   there was a change in plans. RUBIN had stated he had authority to take personal physical

  3   possession of the records. Hillowe requested proof and RUBIN provided a one line email from

  4   De La Huerta saying it was OK for Piliero to turn the records over to RUBIN. Filler then

  5   informed Hillowe that RUBIN was not actually retained as counsel by De La Huerta. Thereupon

  6   Hillowe and Filler agreed that if RUBIN took possession of the records with De La Huerta’s

  7   approval while RUBIN was not counsel – this would result in a waiver of the patient-therapist

  8   privilege because he would be classified as an unnecessary third party with no confidential

  9   relationship with De La Huerta. The only exception would be if RUBIN had provided

 10   documentation to establish himself as a messenger service, but that Hillowe had no such

 11   documentation. Therefore, Hillowe agreed to refuse to release the records to RUBIN when he

 12   arrived at Hillowe’s office. Hillowe did have a copy of the records delivered only to Judge

 13   Charles H. Solomon, Part 82 of New York Supreme Court at 100 Centre Street, Room 1313, to

 14   where Tensor Law electronically delivered the Emergency Motion to Quash the Subpoena.

 15          92.     Subsequently, on November 8, around 3:00 pm Pacific Time, Goldberg and De La

 16   Huerta arranged for representation and a substitution of Goldberg’s firm for Tensor Law as to the

 17   WEINSTEIN matter was effected on November 9 around 10:00 am by execution by TLPC of a

 18   formal letter of substitution directed to Hon. Charles Solomon.

 19          93.     On the afternoon of November 8, WEINSTEIN announced that he had retained

 20   Blair Berk and Benjamin Brafman as defense counsel for the New York De La Huerta

 21   investigation. Brafman has publicly stated that he commences such a representation by providing

 22   information to the District Attorney to undermine the credibility of the accuser. Brafman

 23   immediately made a statement through a spokesperson on November 9 that he was certain there

 24   would be no indictment.

 25          94.     Goldberg subsequently negotiated with Rosenthal and they reached an agreement

 26   on November 15th allowing Goldberg and De La Huerta to review the records and to withhold

 27   any papers that were of a high level of personal compromise but a low level of relevance to the

 28   WEINSTEIN matter. After this review, significant amounts of records were provided to the NY
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  1   DA.

  2          95.     Nonetheless, although RUBIN was fully informed that Carrie Goldberg was

  3   serving as highly expert counsel to De La Huerta in the WEINSTEIN assault matter as of

  4   November 8, RUBIN again convinced De La Huerta to keep his further activities secret from

  5   Goldberg as he sought an electronic copy of the records. RUBIN then travelled to Seville, Spain

  6   where De La Huerta was staying at that time and on November 12, 2017 conducted an extensive,

  7   exacting, point by point interview with De La Huerta as to the facts and recollections as she

  8   understood them in relation to the assaults, which interview continued for more than three hours.

  9   At the end of the discussions that day, RUBIN informed at least other parties present at the

 10   meeting that he could not in fact offer to represent De La Huerta, and that she had no case that

 11   would support a complaint against WEINSTEIN. RUBIN did not obtain a copy of the records.

 12          96.     However, by informing at least others present that there was no case, RUBIN

 13   created the circumstances for an action for a malicious prosecution action in defense of

 14   WEINSTEIN. The basis for such an action is that – at least through RUBIN’s expert and

 15   knowledgeable opinion stated to others present at the meeting – De La Huerta was informed that

 16   she had no basis for pursuing an action against Weinstein. Should De La Huerta or the DA

 17   proceed, they would be doing so in the knowledge that their prosecution was malicious.

 18          97.     Following RUBIN’s visit to Spain to interview De La Huerta, WEINSTEIN’s

 19   designated defense counsel – Benjamin Brafman was allowed to hold a private meeting with the

 20   New York District Attorney, upon which Brafman issued a statement indicating that no

 21   indictment would be sought against WEINSTEIN by the District Attorney. The DA reportedly

 22   directed the NYPD to back off the investigation following the meeting with Brafman. Goldberg

 23   publicly protested the meeting with Brafman because she was not informed of the meeting and

 24   there was no indictment.

 25          98.     On information and belief – Brafman used information obtained from De La

 26   Huerta by RUBIN for purposes of convincing the DA not to proceed. Of note, in 2015, it

 27   appeared that the NY DA was poised to indict WEINSTEIN when the NYPD obtained a

 28   recording of WEINSTEIN admitting to groping Ambra Battilana Gutierrez – who wore a wire
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  1   placed by the NYPD – and on which recording WEINSTEIN repeatedly implores Gutierrez to

  2   enter his hotel room to privately discuss her concerns. To defend himself at that time

  3   WEINSTEIN retained Elkan Abramowitz – a former law partner of NY DA Cyrus Vance and

  4   former US attorney (who contributed $26,450 to Vance’s reelection campaign) and also retained

  5   Daniel S. Connolly – a former prosecutor. Connolly was an Assistant District Attorney in the

  6   office of the Manhattan District Attorney from 1986 to 1994. RUBIN was an Assistant District

  7   Attorney in the office of the Bronx District Attorney from 1986 through 1991. Thus, prior defense

  8   counsel of WEINSTEIN is a long time associate of RUBIN.

  9             99.    WEINSTEIN also retained as consultant Linda Fairstein – a former Manhattan

 10   sex-crimes prosecutor who will have worked extensively with RUBIN over many years – usually

 11   on the opposite side of sex crimes which RUBIN regularly defended. Fairstein has been an

 12   associate of WEINSTEIN since 2007 when she met with him about developing a film based on

 13   her career as a sex crimes prosecutor. Fairstein has written about the case of serial rapist Fletcher

 14   Worrell who was defended by Michael Rubin, see Linda Fairstein, The Most Surprising Crime

 15   Zone: Your Own Home – From the Files of Linda Fairstein – Lesson 2: Always Lock Your Doors

 16   (2012).

 17             100.   In 2015, WEINSTEIN managed to cause Fairstein to use her long-standing

 18   relationship with NY DA sex crimes prosecutor Martha Bashford (Chief of the New York DA’s

 19   Office Sex Crimes Unit) to introduce and arrange a meeting between WEINSTEIN’s criminal

 20   defense attorney Abramowitz and Bashford which resulted in the NY DA deciding not to

 21   prosecute WEINSTEIN in the Gutierrez case. For these reasons it is clear that WEINSTEIN has a

 22   recent similar pattern modus operandi of retaining and contacting former New York District

 23   Attorneys in order to help convince the current New York District Attorneys not to prosecute him

 24   – involving these attorneys as both official retained attorneys and as unofficial consultants.

 25   Further – the very individuals he employed for this purpose are associates of RUBIN. Here since

 26   Fairstein acted on WEINSTEIN’s behalf to reduce his chance of prosecution in the Ambra

 27   Battilana Gutierrez matter, because she acted in 2015 on WEINSTEIN’s behalf by contacting a

 28   present District Attorney, and because she is a person who at least knows of RUBIN, and most
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  1   likely worked opposite him on a number of cases, her pattern of action makes her a likely

  2   intermediary in the effort to prevent an indictment of WEINSTEIN in the De La Huerta matter.

  3

  4            D. Solicitation of A Represented Client By Tortious Means Voids Privilege

  5   1) Solicitation of Representation or Providing a Second Opinion Violates Professional Ethics if

  6   the Communication Contains False Information

  7          101.    In California, Rule 1-400 (B) & (D) of the California Rules of Professional

  8   Conduct govern the propriety of contacts with represented clients:

  9       (B) For purposes of this rule, a "solicitation" means any communication:
 10         (1) Concerning the availability for professional employment of a member or a law
                   firm in which a significant motive is pecuniary gain; and
 11         (2) Which is:
 12
                   (a) delivered in person or by telephone, or
                   (b) directed by any means to a person known to the sender to be represented
 13                        by counsel in a matter which is a subject of the communication.
 14          (D) A communication or a solicitation (as defined herein) shall not:
 15                (1) Contain any untrue statement; or
                   (2) Contain any matter, or present or arrange any matter in a manner or
 16                      format which is false, deceptive, or which tends to confuse, deceive,
                         or mislead
 17
      California Rules of Professional Conduct, Rule 1-400
 18
             102.    The American Bar Association provides guidance on a similar issue where the
 19
      purpose is to render a second opinion rather than to attempt to solicit representation of an already
 20
      represented client. This guidance obligates the opining attorney to undertake a complete review of
 21
      the file before providing any advice – something which RUBIN failed to do, because he sought to
 22
      provide advice secretly without attempting to learn of the contents of the file from TLPC:
 23

 24
         Before giving a second opinion, the lawyer may find that in order to provide the best possible
 25      representation he should review the client’s file, a complete copy of which may only be
         available through the client’s current lawyer.
 26
         Whether or not particular communications between the lawyer and the represented person
 27      might be considered tortious interference with an existing lawyer-client relationship is a legal
         question, outside the scope of an ethics opinion.
 28
                                                     -48-
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  1

  2   https://www.americanbar.org/groups/professional_responsibility/services/ethicssearch/
  3   ethicstipmay2017.html American Bar Association – Ethics Tips – Second Opinions – May 2017.
  4          103.    Similar limitation is specified in the New York Rules of Professional Conduct at

  5   7.3 (a)(1) – “A lawyer shall not engage in solicitation: (2) by any form of communication if: (i)

  6   the communication or contact violates Rule…7.1(a)” which states 7.1(a): “A lawyer or law firm

  7   shall not use or disseminate or participate in the use or dissemination of any advertisement that:

  8   (1) contains statements or claims that are false, deceptive or misleading.”

  9          104.    Here, it is alleged that RUBIN, acting with malice, using methods that constitute

 10   oppression in the sense of reckless disregard and fraudulently advocated for and caused De La

 11   Huerta to panic and urgently terminate her long time counsel Filler through three false, deceptive

 12   and misleading claims: 1) it was harmful to De La Huerta’s case against Weinstein for any press

 13   coverage to occur – which appears to be opposite to the advice of the leading specialist in this

 14   field Gloria Allred; 2) Filler was not licensed to practice in New York and would be practicing on

 15   her behalf without a license – which was misleading because a Tensor Law PC partner – Alex

 16   Straus is licensed to practice in New York and 3) he would need to protect her records by

 17   carrying them personally to Spain – which was in fact a ruse to cause her to waive her evidentiary

 18   privilege so the records would be available to WEINSTEIN and the public.

 19          105.    One only needs to look to the action battle plan deployed by WEINSTEIN to

 20   discredit and humiliate Ambra Battilana Gutierrez when she was pressing for a criminal

 21   indictment –

 22
         And it's interesting to see in that situation there was a whole team that swooped in to help
 23      Harvey fight that in a counterattack effort. There were private investigators who were
         dispatched to basically dig up dirt on her. There were stories planted in the tabloids to
 24
         basically disparage her background…
 25
      Megan Twohey, New York Times Reporter– NPR November 15, 2017
 26

 27      After Gutierrez contacted the police, Weinstein drew upon a network of high-powered
         defense lawyers, former law-enforcement officials, and private investigators who help the
 28
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  1      wealthy try to thwart criminal investigations. Unbeknownst to her, Weinstein’s attorneys
         hired K2 Intelligence, a firm founded by the corporate-intelligence magnate Jules Kroll, and
  2      tasked its agents with insuring that the Manhattan District Attorney, Cyrus Vance, did not
         press charges against Weinstein. One of Weinstein’s defense lawyers, Elkan Abramowitz,
  3
         whose clients include New York Governor Andrew Cuomo and who is a partner at the firm
  4      that formerly employed Vance, oversaw K2’s work. The intelligence firm hired Italian private
         investigators to dig up information on Gutierrez’s sexual history, according to three
  5      individuals with knowledge of its work. (A spokesperson for K2 said that the firm’s work in
         the Gutierrez case involved only online and public-records searches regarding her past.)
  6

  7      The Italian investigators also claimed that Gutierrez engaged in prostitution.

  8      Current and former K2 employees, all of whom had previously worked at the District
         Attorney’s office, relayed the private investigators' information about Gutierrez in calls to
  9      prosecutors. Two K2 employees said that those contacts were part of a “revolving door”
         culture between the D.A. and high-priced private-investigation firms. Lawyers working for
 10      Weinstein also presented a dossier of the private investigator’s findings to prosecutors in a
 11      face-to-face meeting. (Joan Vollero, a spokesperson for Vance’s office, said that such
         interactions with defense attorneys are standard procedure.)
 12
      Ronan Farrow, “Harvey Weinstein’s Secret Settlements: The New Yorker, November 21, 2017,
 13
      see Exhibit M)
 14
             106.      Note that K2 Intelligence – who have worked to attack WEINSTEIN’s accuser in
 15
      the recent past employs six investigators who formerly worked in the New York District
 16
      Attorney’s office – including Robert Brenner, Jordan Arnold, Paul E. Ryan, Charles Lineham
 17
      (who worked in RUBIN’s sub-specialty area of construction crime), and Matthew E. Paul. The
 18
      firm employs numerous former NYPD Detectives as well. Therefore, when RUBIN made a
 19
      public statement about this law suit on January 6th, 2018, rather than deny that there was an
 20
      undisclosed principal, he only asserted that he did not know Harvey Weinstein personally. Given
 21
      the numerous former New York Assistant District Attorneys and former NYPD Detectives either
 22
      employed by Weinstein or who are employed by his service providers – it is clear that RUBIN’s
 23
      statement of not knowing WEINSTEIN personally is wholly irrelevant to the question of whether
 24
      he was positioned to provide information to e.g. K2 with which to smear De La Huerta as they
 25
      did with Ambra Battilana Gutierrez.
 26
             107.      At the very least, it will have been Filler’s obligation as De La Huerta’s attorney to
 27
      guard against any misdirection of psychotherapy records. Therefore, RUBIN’s intensive,
 28
                                                       -50-
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  1   invasive, secretive and wholly inappropriate efforts to obtain an “extra” physical copy of the

  2   records the moment the first copy left Hillowe’s hands – constituted severe interference with

  3   TLPC’s ability to carry out its duty with regard to its longtime client De La Huerta.

  4          108.    TLPC also represented De La Huerta in a separate action De La Huerta v.

  5   Lionsgate at al. Filler was aware that release of the records could impair De La Huerta’s case

  6   against Lionsgate (the Lionsgate case arose from events in 2011 and these records from Piliero

  7   covered that period of time). That representation continues presently. TLPC also represented De

  8   La Huerta in contract negotiations regarding mutual non-disparagement with various individuals

  9   and Filler was aware that release of the Piliero records by consent of De Le Huerta (which

 10   consent RUBIN sought to obtain) could possibly conflict with that undertaking. Filler specifically

 11   warned RUBIN in their November 7 phone call about these issues and RUBIN responded by

 12   expressing utter contempt and disregard for TLPC’s obligations to protect De La Huerta’s privacy

 13   and privilege with regard to the Piliero records.

 14          109.    Note here that the consented release of records which RUBIN sought & obtained

 15   from De La Heurta on November 7, 2017 has wholly different effects on privilege and privacy

 16   than any production in response to a judicially ordered Grand Jury Subpoena. His maneuver put a

 17   general written consent for release in his hands, where no such proof of consent to release could

 18   have been obtained in any other way – a fact that immediately and gravely alarmed Filler.

 19   Although Filler was able to block and prevent Hillowe from acting on De La Huerta’s written

 20   consent to release records, this engendered burdensome conflict with the client to convince her

 21   she had erred gravely in accepting and acting upon what she believed to be RUBIN’s seemingly

 22   sage and helpful advice.

 23

 24   4) RUBIN’s Advice Against Reactive and Affirmative Provision of General Case Information to

 25   Media Resulted in Additional Burden and Conflict

 26          110.    The issue of active pre-emptive press presence is determined by the Ambra

 27   Battilana Gutierrez history. A number of media were recruited by WEINSTEIN to publish

 28   character destruction of Gutierrez. The decision of the District Attorney as to whether to proceed
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  1   with a prosecution is substantially based in law, but has a significant impact from news and

  2   politics. For Gutierrez, a blast of negative reporting suggesting she was a prostitute and had prior

  3   false rape allegations preceded the District Attorney’s announcement that they would not

  4   prosecute WEINSTEIN. This negative press was placed by WEINSTEIN operatives. The editor

  5   of the National Enquirer was a participant.

  6          111.    Counseling from RUBIN to De La Huerta to withdraw from the press completely,

  7   make no statements, do no interviews and make no appearances was, on information and belief,

  8   to open the field for negative reporting of De La Huerta. This conflicted directly and oppositely

  9   from the advice of Filler. However, RUBIN strongly advocated for urgent efforts to halt all

 10   communication with the press on the grounds that it would irreparably harm De La Huerta’s

 11   prospects. Previously, during the course of the Lionsgate litigation, De La Huerta – at critical

 12   times – demonstrated an accurate understanding that appropriate press at appropriate times would

 13   help her case. As a result, when Lionsgate came into court with an Anti-SLAPP action arguing

 14   that it was protected speech to hit her with an ambulance because a stunt is part of artistic

 15   expression, press was critical. De La Huerta had a courtroom full of media listening as the judge

 16   was forced to reverse his position relative to the tentative ruling – and accept the arguments of her

 17   legal team that the Screen Actors Guild contract dominated over the Lionsgate agreements and

 18   that hitting an actress with a stunt vehicle is not a form of freedom of artistic expression.

 19          112.    For the Gutierrez case K2 provided negative information to the press according to

 20   Ronan Farrow:

 21      She began to worry about her future. “I couldn’t sleep, I couldn’t eat,” she told me. New York
 22      tabloids, including the New York Post, to which Weinstein had fed stories in the past, had
         been publishing lurid reports about Gutierrez that mirrored the information in K2’s dossier.
 23
         Attorneys that Gutierrez consulted advised her to accept a settlement. “I felt pressured,” she
 24      told me. “I said no at first.” Eventually, however, she relented. “I was forced by the fact that
         newspapers completely bashed me, by the fact that I was alone, by the fact that I was twenty-
 25      two years old,” Gutierrez told me. “I knew if he could move the press in this way, I couldn’t
 26      fight him.”
      Ronan Farrow, Harvey Weinstein’s Secret Settlements, The New Yorker, November 21, 2017.
 27
      WEINSTEIN also worked closely with Dylan Howard, the chief content officer for American
 28
                                                      -52-
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  1   Media Inc., publisher of the National Enquirer – according to Farrow.

  2          113.    WEINSTEIN also employs as his agents Michael S. Sitrick, Sallie Hofmeister and

  3   Holly Baird of Sitrick and Company as public relations spokespersons. Even as WEINSTEIN

  4   evades service of process of this lawsuit, he received a copy through his attorneys Blair Berk &

  5   Phyllis Kupferstein, read it and caused Holly Baird to make a public statement describing this

  6   lawsuit indicating it would be “insanity” to assert that he would spy on accusers or attempt to

  7   interfere with efforts to call him to account for his sexual assaults.

  8          114.     For all of these reasons TLPC advocated an aggressive forward Press response

  9   presence in order to avoid creating a media vacuum, to quickly respond to and quash negative

 10   narratives, and show the immediate public light of day that any WEINSTEIN misbehavior would

 11   be exposed to. TLPC was commissioned to act in this fashion. RUBIN strongly advocated no

 12   comments to the press under any circumstances and used his position on this to advocate for

 13   urgent termination of TLPC.

 14                 E. A Nefarious Purpose Is Provable By The Steps Taken by RUBIN

 15
             115.    Plaintiff hereby alleges that RUBIN’s actions cannot have been undertaken for the
 16
      purpose of acting as an attorney representing the interests of De La Huerta. For these reasons, his
 17
      actions fall under Section 4.2 of the American Bar Association Model Rules of Professional
 18
      Contact which bar an attorney (RUBIN) retained by an adverse party (the Undisclosed Principal)
 19
      from communicating about the subject of the representation with a person (De La Huerta)
 20
      represented by counsel (Filler).
 21
      1) No Attorney Client Privilege Arises From an Attorney’s Contacts With an Opposing Client
 22
             116.    Importantly such a representation would violate the duty of loyalty to the first
 23
      client (the Undisclosed Principal) with the result of being a “simultaneous representation” that
 24
      causes a “per se” or “automatic” disqualification of the attorney, see Flatt v. Superior Court 9
 25
      Cal.4th 275, 284 (1995). The result of this automatic disqualification is that no attorney-client
 26
      privilege is formed, even if the second client is unaware that a prospective attorney is actually
 27
      acting secretly as an investigating attorney for an Undisclosed Principal (first client) whose
 28
                                                      -53-
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  1   interests are adverse on the matter at hand. In essence, any act undertaken by the attorney that

  2   brings an actual advantage to the potential second client (De La Huerta) would violate the duty of

  3   loyalty to the first client.

  4           117.      It is axiomatic that no attorney client privilege results when an adverse party’s

  5   attorney communicates with the opposing party. The automatic disqualification principal of Flatt,

  6   supra, additionally means that even if the attorney wanted to simultaneously represent opposing

  7   parties, the second engagement fails automatically and no attorney client privilege results.

  8   2) Lacking Any Attorney-Client Privilege RUBIN Could Not Obtain a Copy of De La Huerta’s

  9   Records Without Waiving Her Patient-Psychotherapist Privilege

 10           118.      Either as the agent of an undisclosed principal or as an independent actor seeking

 11   to harm De La Huerta’s criminal case against WEINSTEIN there was no privilege in effect for

 12   RUBIN. Therefore, when – through the application of deceit – RUBIN convinced De La Huerta

 13   to direct Hillowe to provide a copy of the psycho-therapy records of Piliero to RUBIN, his action

 14   was intended to cause a permanent and irreparable destruction of the patient-psychotherapist

 15   privilege.

 16           119.      Revealing to the public hundreds of pages of intimate personal details of the

 17   thoughts and experiences of a victim of a sexual assault is an action well understood to a person

 18   of RUBIN’s occupation as a sex crimes defense attorney. This is done to humiliate the victim and

 19   to undermine her as a witness. There would be no reasonable basis to believe that RUBIN had

 20   informed De La Huerta that this was his intention.

 21

 22   3) Even to Render a Second Opinion – a Full Review of the Case File Was Required

 23           120.      The records so aggressively sought by RUBIN were of very low evidentiary or

 24   probative value as to the strength of the case against WEINSTEIN. However, they were of very

 25   high probability of harm to the emotional state of De La Huerta.

 26           121.      In contrast, in order to form a second opinion about the management of the case,

 27   RUBIN will have needed to see and review hundreds of pages of evidence and corroborative data

 28   & evidence in the case file held by her attorney Filler but RUBIN made no effort to review the
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  1   evidence. Additional corroborating witnesses who were identified to Filler were not referred to

  2   De La Huerta personally, so she would not be a source of that relevant information for RUBIN in

  3   formulating an opinion. Under the American Bar Association advice from the ABA Center for

  4   Professional Responsibility (May 2017) the guidance is as follows:

  5
         Before giving a second opinion, the lawyer may find that in order to provide the best possible
  6      representation he should review the client’s file, a complete copy of which may only be
  7      available through the client’s current lawyer.
      Peter Geraghty, Ethics Search Director, American Bar Association, Ethics Tip May 2017:
  8
      americanbar.org/groups/professional_responsibility/services/ethicssearch/ethicstipmay2017.html
  9
             122.    Thus, it appears that RUBIN’s plan to keep his involvement secret while providing
 10
      opinions to De La Huerta was done for nefarious purposes and not for the purpose of providing
 11
      the best possible opinions. Ultimately – and without reviewing any case files and without
 12
      consulting with De La Huerta’s new attorney Goldberg, Rubin rendered the opinion that there
 13
      was no valid case so that he could not offer representation – making this clear to at least others
 14
      present at this meeting with De La Huerta in Seville, Spain on November 12, 2017.
 15
      4) Initial Investigation of RUBIN by Filler
 16
             123.    Although RUBIN instructed De La Huerta to keep his activities secret and
 17
      although he continued to believe his actions were secret, Filler was instructed by De La Huerta on
 18
      November 4 and again on November 7 to commence an investigation of RUBIN. The
 19
      investigation was similar to prior work Filler had done to assure against manipulation of De La
 20
      Huerta’s legal efforts in her litigation against Lionsgate. The purpose of the investigation was to
 21
      learn if RUBIN was acting on WEINSTEIN’s behalf with an intention to prepare for litigation
 22
      against RUBIN if evidence of collusion with WEINSTEIN was identified.
 23

 24
         From: Michael F. Rubin <MFR@kellyrubin.com>                       Nov 6 at 8:06 AM
 25      To: Paz De La Huerta

 26      Ok... I’ll send a request to Bruce with a cc to your therapist and suggest
         that your therapist scan and email the records to you so we can review
 27      when we meet. Hopefully the records can be sent to you in time for our
 28      meeting this week.

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  1      As for Filler, I’ve looked into him a bit and unless I’m missing something, I
         don’t think he is admitted to practice law in NY. Unless he’s pushing you
  2      to sign a retainer, l suggest not telling him anything until you and I meet.
  3

  4          -------------------------
  5

  6      Michael F. Rubin MFR@kellyrubin.com                      Nov 6 at 12:30 pm
         To: Paz De La Huerta
  7
         I just spoke to Bruce Hillowe, counsel for your therapist. I'm told that
  8      the records are being processed and will be sent to you electronically by
  9      tomorrow. I also understand that Mr. Hillowe has been in touch with the
         DA about the delay in production of the records and why. For now, I don't
 10      see a reason to speak to the detective ... the ADA is the one running the
         investigation, not the detective... and as long as she is informed, that's
 11      fine.
         I suggest that you forward the records to me after you get them, so I
 12      can go over them and then we can discuss any concerns there may be. I'd
 13      like to get the records reviewed and sent to the DA asap because I don't
         want the DA to wondering about the reason for the delay ... other than
 14      what she was told by Mr. Hillowe.

 15   Emails of November 6 obtained in an initial investigation of RUBIN.
 16          124.     Note that as of November 6th (Monday) at 12:30 pm EST, it was Rubin’s stated
 17   intention to get the records electronically from Paz. However, by the following day, November 7,
 18   he had decided to seek to collect paper copy directly from Bruce Hillowe. This was at a time
 19   when numerous media were reporting that an indictment was expected within 24 hours.
 20

 21

 22

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 19   Figure 5 – Emails of November 7, 2017 noting RUBIN’s change of plans to attempt to obtain a
      paper copy of De La Huerta’s records in a fashion that would waive privilige
 20
      5) Summary of Evidence of Actions by RUBIN Against De La Huerta’s Chosen Course to
 21
      Advance the WEINSTEIN Criminal Complaint
 22
             125.    Firstly, aside from the interference with contractual relations, RUBIN’s intent was
 23
      to interfere with De La Huerta’s progress towards a criminal indictment of Weinstein by 1)
 24
      convincing her of an urgent need to immediately terminate her counsel and to go unrepresented
 25
      (he subsequently refused to offer to represent her after he had interviewed her extensively on
 26
      Nov. 12); 2) attempting to cause a waiver of the evidentiary privilege that protected De La
 27
      Huerta’s psychotherapy records from public release; 3) attempted to physically gain possession of
 28
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  1   an “extra” paper copy of De La Huerta’s psychotherapy records before she or her attorney Filler

  2   would see the electronic copy – he could then be the first to have a copy to sell to an undisclosed

  3   principal; 4) a frantic and intensive effort to halt or evade TLPC’s Emergency Motion to Quash

  4   the Subpoena for the Piliero records; 5) after causing her to terminate counsel, making her records

  5   public and probably completing a sale of the records, then – on November 12 - advise her she had

  6   no case to pursue against WEINSTEIN.

  7      F. Destruction of Evidence by The Weinstein Company Warrants a Default Judgment

  8           126.    Plaintiff herein alleges that during October and November of 2017, THE

  9   WEINSTEIN COMPANY and HARVEY WEINSTEIN as well as possibly other defendants such

 10   as RUBIN, BC STRATEGY (UK and Israel), and K2 INTELLIGENCE all involved in

 11   aggressive destruction of documents in anticipation of litigation.

 12           127.    Generally, under California Law there is no longer any tort of spoliation of

 13   evidence since it was abolished by the California Supreme Court in Cedars Sinai Medical Center

 14   v. Superior Court, 18 Cal.4th 1,17 (1998). Even were it to exist it would likely parallel the current

 15   regimen of combatting this practice by allowing jury instructions with a negative inference only

 16   for destruction after a case is filed and a warning letter against evidence destruction has been

 17   received by the Defendant, or even – not until discovery requests have been served. The situation

 18   is similar in New York, see Krin v. Lenox Hill Hosp., 88 A.D.3d 597 (2011).

 19           128.    However, this is considered procedural law from the point of view of an Erie

 20   analysis so that Federal law controls when a case is heard in United States District Court. Under

 21   Federal Law, sanctions are more severe. Further, intentional spoliation of evidence prior to

 22   commencement of litigation may be severe if the party involved can be shown to have had

 23   reasonable expectation that litigation was imminent and that the evidence being destroyed would

 24   be directly relevant to the anticipated litigation.

 25           129.    This situation arises in relation to the landmark case of Kronisch v. United States

 26   150 F.3d 112 (2nd Cir., 1998). In the 1950’s the CIA administered LSD to twenty four

 27   unsuspecting individuals (by offering a drink in a social situation, that had been laced with LSD),

 28   some of which acts were conducted in the US and some on ex-patriates who were overseas when
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  1   they were offered a drink secretly laced with drug. When the U.S. Senate investigated this in the

  2   late 1970’s, the CIA was forced to divulge the names of the Americans who were given the drug

  3   when in the U.S. but the CIA kept secret the names of those Americans involved when overseas.

  4   Kronisch was given the drug when in Paris. As the CIA was sued by those victims in the U.S., it

  5   destroyed evidence that could have been used to support legal actions by those victimized

  6   overseas. The District Court granted summary judgment against Kronisch’s estate because they

  7   could not obtain evidence to prove the CIA’s act due to the CIA’s intentional spoliation of

  8   evidence carried out for the purpose of frustrating litigation against it. The Second Circuit

  9   reversed, finding that circumstantial evidence and an adverse inference could be provided to the

 10   jury even though the spoliation took place before Kronisch sued.

 11          130.       The duty to preserve evidence commences as soon a the party knows or reasonably

 12   should now that litigation is imminent and that the documents being destroyed are likely to be

 13   relevant to the litigation, see In re Napster, Inc. Copyright Litigation, 462 F.Supp.2d 1060 (9th

 14   Cir., 2006):

 15      When considering a default sanction in response to spoliation of evidence, the court must
 16      determine “(1) the existence of certain extraordinary circumstances, (2) the presence of
         willfulness, bad faith, or fault by the offending party, (3) the efficacy of lesser sanctions, [and]
 17      (4) the relationship or nexus between the misconduct drawing the [default] sanction and the
         matters in controversy in the case.” Halaco Eng'g Co. v. Costle, 843 F.2d 376, 380 (9th
 18      Cir.1988) . In addition, the court may consider the prejudice to the moving party as an
         “optional” consideration where appropriate. Id. This multi-factor test is not “a mechanical
 19      means of determining what discovery sanction is just,” but rather “a way for a district judge to
 20      think about what to do.” Valley Engineers, Inc. v. Electric Eng'g Co., 158 F.3d 1051, 1057
         (9th Cir.1998) .
 21
      In re Napster at 1070.
 22
             131.       The extraordinary circumstances apply to situations that appear to apply to the
 23
      current matter:
 24
         Dismissal under a court's inherent powers is justified in extreme circumstances.” Id. In the
 25      Ninth Circuit, “extraordinary circumstances exist where there is a pattern of disregard for
         Court orders and deceptive litigation tactics that threaten to interfere with the rightful decision
 26      of a case.” See Advantacare Health Partners, LP v. Access IV, No. C 03-04496 JF, 2004 WL
 27      1837997 at *5 (N.D.Cal. Aug.17, 2004) (Fogel, J.) (citing Halaco, 843 F.2d at 381). See also
         Anheuser- Busch, Inc. v. Natural Beverage Distributors, 69 F.3d 337, 348 (9th Cir.1995)
 28      (holding that it is “well settled that dismissal is warranted where ... a party has engaged
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  1      deliberately in deceptive practices that undermine the integrity of judicial proceedings”); Wyle
         v. R.J. Reynolds Tobacco Co., 709 F.2d 585, 591 (9th Cir.1983) (upholding dismissal where
  2      the district court determined that “the deliberate deception and irreparable loss of material
         evidence justified the sanction of dismissal”);
  3
      In re Napster at 1071.
  4
             132.    In the current matter, beginning in the first week of October of 2017, Harvey
  5
      WEINSTEIN and certain employees of THE WEINSTEIN COMPANY, commenced a frantic
  6
      effort to destroy evidence that could be used to support litigation against WEINSTEIN and/or
  7
      TWC. This effort was publicly disclosed on January 17, 2018 in an article in Vanity Fair by
  8
      Adam Ciralsky. He reports that a statement was provided by TWC stating:
  9

 10      [Frank] Gil – [Vice President of Human Resources] entered the offices of TWC employees
         without their knowledge and may have been responsible for the disappearance of personnel
 11      files.” Those offices, sources said, belonged to T.W.C. president and chief operating officer
         David Glasser and Irwin Reiter, the company’s comptroller.
 12
      Adam Ciralsky, “Harvey’s Concern Was Who Did Him In”: Inside Harvey Weinstein’s Frantic
 13
      Final Days, Vanity Fair, January 17, 2018, see Exhibit L.
 14
             133.    The author of the article goes on to report:
 15

 16      The next day, October 6, [Frank Gil] and Weinstein spoke by phone and Gil supposedly made
         a proposition, as recounted by sources familiar with the call and the events that followed. Gil,
 17      they said, offered to provide proof—in exchange for a seven-figure payment—that T.W.C.
         president and C.O.O. David Glasser and Weinstein’s brother, Bob, had been the ones who had
 18      leaked damaging details to the press…Reiter’s computer may have been accessed without his
         consent
 19

 20   Adam Ciralsky, “Harvey’s Concern Was Who Did Him In”: Inside Harvey Weinstein’s Frantic
 21   Final Days, Vanity Fair, January 17, 2018. For these reasons, it is likely that contracts for the
 22   sub-rosa collection of information from accusers may have been intentionally destroyed for the
 23   purpose of frustrating imminent litigation. This reveals a pattern, that led New York Attorney
 24   General Eric Shneiderman to prevent the sale of TWC until its leadership had been removed. The
 25   termination of TWC CEO David Glasser was announced on February 16, 2018, apparently in
 26   response to Schneiderman’s demands.
 27          134.    Default sanctions will be sought against at least TWC to the extent that any
 28
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  1   significant destruction of relevant documents can be confirmed:

  2      Litigants owe an “uncompromising duty to preserve” what they know or reasonably should
  3      know will be relevant evidence in a pending lawsuit, or one in the offing, even though no
         discovery request or order to preserve the evidence has yet been made.
  4
      Schwarzer, Tashima & Wagstaffe, Rutter Group Prac. Guide: Federal Civ. Pro. Before Trial,
  5   (The Rutter Group - June 2016 Update) Ch. 11(I)-C, ¶ 11:125.
  6

  7            V. FIRST CAUSE OF ACTION: TORTIOUS INTERFERENCE WITH A

  8                                 CONTRACTUAL RELATIONSHIP

  9         (as against RUBIN, alternatively upon election against any Undisclosed Principal

 10                                        & against DOES 1 to 50)

 11

 12          135.    Plaintiff realleges and incorporates by reference as though fully set forth herein,

 13   each and every allegation set forth above in this Complaint.

 14          136.    The standard for an action in tort for interference with contractual relations was

 15   reviewed by the California Supreme Court in Quelimane Co. v Stewart Title Guaranty Co., 19

 16   Cal. 4th 26 (1998):

 17      "The elements which a plaintiff must plead to state the cause of action for intentional
 18      interference with contractual relations are (1) a valid contract between plaintiff and a third
         party; (2) defendant's knowledge of this contract; (3) defendant's intentional acts designed to
 19      induce a breach or disruption of the contractual relationship; (4) actual breach or disruption of
         the contractual relationship; and (5) resulting damage." Pacific Gas & Electric Co. v. Bear
 20      Stearns & Co. 50 Cal. 3d 1118, 1126, (1990).
 21   Quelimane at 55.
 22          137.    As a preliminary matter, it is worth noting that a critical difference between the
 23   California elements for intentional interference with contract (IIC) as opposed to the elements for
 24   the intentional interference with prospective economic advantage (IIPEA), is that no wrongful
 25   conduct needs to be shown for IIC. The higher standard for IIPEA is intended to assure that there
 26   is no cause of action amongst parties simply competing for business. In the current matter,
 27   however, RUBIN was not seeking to represent De La Huerta, and he was not seeking to promote
 28
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  1   her interest in seeing that an indictment of WEINSTEIN resulted. Rather, his purpose was to

  2   disrupt the case against WEINSTEIN by fraudulently representing himself to De La Huerta as a

  3   prospective attorney. In essence his purpose was not to compete with FILLER for the business of

  4   representing De La Huerta, rather his purpose was to deprive De La Huerta of counsel at the time

  5   her critical Motion to Quash was filed and to disrupt the efforts of Filler to perform effectively as

  6   De La Huerta’s attorney generally in the effort to seek justice as to WEINSTEIN’s assaults

  7   against her.

  8

  9                                 A. An Actual Valid Contract Existed

 10

 11          138.    Firstly (1), the Plaintiff’s case must be based on actual valid contracts between

 12   Plaintiff and a third party. This element is met because Plaintiff Tensor Law P.C. entered into an

 13   open ended formal detailed contingency representation contract with De La Huerta on May 29,

 14   2015 which included the statement “Our agreeing to provide any additional representation will be

 15   in our sole and absolute discretion.” In the current matter De La Huerta requested representation

 16   and Plaintiff TLPC agreed, then proceeded to provide more than a hundred hours of intensive

 17   legal effort with outstanding success in advancing De La Huerta’s goals.

 18          139.    She obtained impeccable positive and very highly positioned media coverage for

 19   her statement in Vanity Fair, the New York Times, CBS and CNN from leading journalists. The

 20   follow on included thousands of reports. Her claim against WEINSTEIN achieved particularly

 21   wide coverage because of all of the hundreds of accusers of WEINSTEIN and others similarly

 22   situated, only hers resulted in a powerful endorsement of the likelihood of prosecution. Rather

 23   than relying only on her own statements or comments of an attorney such as Gloria Allred,

 24   instead De La Huerta’s accusations, together with evidence developed by Tensor Law PC, were

 25   endorsed by the District Attorney of New York County, Cyrus Vance, as well as by Bill de

 26   Blasio, Mayor of New York City and by Robert K. Boyce, Chief of Detectives of New York.

 27   WEINSTEIN was put in fear of his liberty by affirmative statements from the NYPD that he

 28   faced imminent arrest if he attempted to return to his home in New York. Scores of other media
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  1   sought further interviews with De La Huerta. Note that circumstances have changed, but when

  2   she relied on other New York counsel to try to get coverage and action for the exact same

  3   accusations in 2014, no press coverage and no legal action resulted. It is evident that a contract

  4   existed for legal services and that it was being performed with a very high level of competence

  5   and success by Tensor Law P.C. Even if there had been no actual written contract, it is still the

  6   case that documented offer acceptance consideration and performance demonstrably existed.

  7

  8                          B. DEFENDANTS Had Knowledge of the Contract

  9           140.    Knowledge of the contracts (2) is required, but California law does not require

 10   that the tortfeasor have knowledge of the parties of the contract or the terms of the contract. All

 11   that is required is that the defendant have knowledge that contracts exist that are substantially

 12   certain to be interfered with in consequence of defendant’s intentional action. Here, RUBIN

 13   reveals awareness of the contract because he sent email writings to De La Huerta specifically

 14   instructing her not to inform Filler of RUBIN’s activities. Further, extensive media coverage of

 15   De La Huerta’s case included citation to Filler as her attorney in this matter. The fact that he

 16   reached out to contact her in Spain shows that he became aware of the WEINSTEIN accusation

 17   involving De La Huerta and is unlikely to have avoided entirely seeing any of the coverage in the

 18   New York Times, CNN, CBS, NBC Today/Megyn Kelly as well as thousands of follow on media

 19   reports. Further, De La Huerta will have certainly informed him immediately that she had

 20   representation and Hillowe was certain to have informed him that De La Huerta had

 21   representation. Although it is true that an additional revised retainer agreement specifying hourly

 22   rates for additional attorneys at Tensor Law had been provided, the existence of a contract was

 23   already obvious to RUBIN.

 24           141.    In Sebastian International v. Russolillo 162 F.Supp.2d 1198 (C.D. Cal 2001) the

 25   Court held that it is not necessary to allege the individual contracts in detail, rather it is sufficient

 26   to reasonably show that Defendant was “on notice” as to the class of contracts with which their

 27   actions were substantially certain to interfere:

 28
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  1      “The Court finds that this evidence supports the Plaintiff's assertion that the Defendants were
         “on notice'' as to the class of contracting salons and distributors with whom Sebastian has
  2      contractual relations, and that it can be reasonably inferred from such notice that Defendants
         had knowledge of the class of contractual relations potentially disrupted by their actions.
  3
         Therefore, the Court finds that there is sufficient evidence to support the second element of
  4      Plaintiff's claim for interference with contractual relations.”

  5    Sebastian, at 1204.
  6          142.    In Sebastian, the Court states that this view follows California law through it’s

  7   citation of Ramona Manor Convalescent v. Care Enterprises, 177 Cal.App.3d 1120, 1131 (1986).

  8   The Court in Ramona ruled that a holdover lessee could interfere even though it did not know the

  9   identity of the new lessee whose possession was affected:

 10      “We are not persuaded knowledge of the injured party's specific identity or name is a
 11      prerequisite to recovery for either IIK or IIPEA. Care failed to quote another passage found in
         the same section and the same comment which qualifies the portion it did quote and which
 12      seems to us dispositive of the point: “The rule does not require, however, that the person who
         loses the performance of the contract as a result of the conduct of the actor should be
 13      specifically mentioned by name. It is sufficient that he is identified in some manner....”
         Restatement 2nd of Torts, § 766, com. p, pp. 15–16.
 14

 15      Care's decision to hold over beyond the termination of the lease under which it had possession
         was made with the knowledge that such action would frustrate the legitimate contractual
 16      expectations of a specific, albeit unnamed, new lessee. That is all it was required to know to
         incur liability.”
 17
      Ramona at 1133. In the current matter, it is not only clear that RUBIN knew the general type of
 18
      contract that would underlie a high profile high stakes litigation such as the claims of De La
 19
      Huerta against WEINSTEIN, but that RUBIN knew of Filler. Further RUBIN states in an email to
 20
      De La Huerta that he has investigated FILLER, then going on to provide incorrect information
 21
      about Tensor Law PC to De La Huerta, such as a false assertion that Tensor Law PC could not
 22
      represent her in New York.
 23
             143.    This position of the court in Ramona is also relied on in Altera Corp. v. Clear
 24
      Logic, Inc., 424 F.3d 1079, 1092 (9th Cir. 2005) where the 9th District cites Sebastian and also
 25
      cites Ramona stating:
 26
         “When the defendant performs the act that causes the interference, the defendant need not
 27      know exactly who is a party to the contract, so long as he knows he is interfering with a
 28      contractual relationship.”

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  1   Altera at 1092. Thus, even if RUBIN was not aware of New York Attorney Alex Strauss who is a

  2   partner in Tensor Law PC it was sufficient that RUBIN knew this was a law firm representing De

  3   La Huerta and that Tensor Law PC had filed an Emergency Motion to Quash the Grand Jury

  4   Subpoena in the Supreme Court of New York, Department 82.

  5

  6   C. DEFENDANTS Engaged In Specific Intentional Acts Intended To Disrupt And Interfere

  7        With The Performance Of The Contract By FILLER And By TENSOR LAW P.C.

  8

  9           144.    The plaintiff must plead (3) defendant’s intentional acts designed to induce a

 10   breach or disruption of the contractual relation. The intent & design at issue, under California

 11   Law, is an intent to perform some act which results in the interference, but there is no requirement

 12   that it is defendant’s intention to interfere with the contract - it is only necessary that the

 13   intentional act does result in the interference and that a reasonable party in the defendant’s

 14   position would be substantially certain that such interference would result. Further, Intentional

 15   Causation of Breach is a separate tort, so that Intentional Interference only requires that

 16   performance be made more difficult rather than requiring that an actual specific breach of

 17   contract be induced.

 18      “To establish the claim, the plaintiff need not prove that a defendant acted with the primary
 19      purpose of disrupting the contract, but must show the defendant's knowledge that the
         interference was certain or substantially certain to occur as a result of his or her action.”
 20      (Quelimane Co. v. Stewart Title Guaranty Co. (1998) 19 Cal.4th 26, 56, 77 Cal.Rptr.2d 709,
         960 P.2d 513.)
 21

 22   Reeves v. Hanlon 33 Cal.4th 1140, 1148 (2004). Thus, even if RUBIN somehow believed that his

 23   direct instructions to De La Huerta to terminate Filler and Tensor Law was not done for the

 24   purpose of disrupting Plaintiff’s contract with De La Huerta, he will have known that disruption

 25   would be substantially certain to occur if she accepted his advice and followed his instructions.

 26           145.    The emails from Rubin are not privileged and show that he advised Hillowe to

 27   provide him with a copy of the records at issues. All of the emails cited are a product of an

 28
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  1   investigation of RUBIN undertaken by Filler at the direction of De La Huerta for the purpose of

  2   preparing for litigation where the emails would form the evidence if collusion on WEINSTEIN’s

  3   behalf was found. In fact, because of the speed of events, RUBIN convinced De La Huerta to

  4   terminate TLPC abruptly before a full investigation of RUBIN could be completed. RUBIN’s

  5   shift of plans after 3:00 pm EST on November 7 to seek to seize a physical copy of the records

  6   was accompanied by a high level of pressure on De La Huerta from Rubin to immediately

  7   terminate TLPC.

  8             146.   Specifically there are four intentional acts that are complained of and alleged as

  9   interference as follows: 1) RUBIN attempted to obtain a physical copy of the psychotherapy

 10   records of Paz De La Huerta on November 7, 2017 and this attempt interfered with TLPC’s

 11   performance of its contract which obligated TLPC to avoid and prevent such a release; 2) RUBIN

 12   called TLPC to fraudulently inform TLPC it was terminated as counsel and must stop work; 3)

 13   RUBIN induced De La Huerta to attempt to terminate TLPC’s representation of her as to the

 14   WEINSTEIN matter to become pro se while a critical court hearing was pending which TLPC

 15   had filed and was responsible to appear for; 4) RUBIN sought to compromise, obtain and destroy

 16   privilege for a wide extent of personal matters from De La Huerta during RUBIN’s visit to De La

 17   Huerta in Seville, Spain on November 12, 2017 involving extensive information for which TLPC

 18   had a continuing duty & responsibility to assure remained personal and confidential to De La

 19   Huerta.

 20

 21              D. The Intentional Acts of DEFENDANTS were Wrongful And Unjustified

 22

 23             147.   Plaintiff also must reasonably assert that the (3b) Defendant’s intentional act was

 24   either unlawful (e.g. constituted defamation) or if lawful, that it was unjustified :

 25
         “Thus, the jury may infer culpable intent from conduct substantially certain to interfere with
 26      the contract or prospective economic relationship…[A] cause of action under either tort theory
 27      will lie for the intentional interference by a third person with a contractual relationship either
         by unlawful means or by means otherwise lawful when there is a lack of sufficient
 28      justification.”
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  1
      Savage v. Pacific Gas & Electric Co., 21 Cal App 4th 434, 449 (1993).
  2

  3             148.   Here – the tort is really split into two species. In one version – the defendant
  4   charged with interference is a competitor trying to compete for the same customer and who may
  5   have a competition privilege, while in the other species, the defendant is simply intent on
  6   damaging the plaintiff’s business activity.
  7             149.   The latter type is the basis of the original case that led to the introduction of this
  8   tort – Garret v. Taylor, Cro. Jac. 567, 79 Eng. Rep. 485 (Kings Bench 1620) (see Exhibit G). In
  9   that case, Garret mined and finished building stones at a quarry he owned. Taylor to discredit
 10   Garret and deprive him of income, would stand before the quarry entrance and threaten mayhem
 11   and threaten to sue anyone who came to buy stones and any workmen trying to report to work at
 12   the quarry. Because the customers stayed away and the workman were afraid to enter, the court
 13   determined that there was a cause of action even though there was no defamation and no one was
 14   actually physically assaulted. It doesn’t matter if Taylor was a competitor or if he was an angry
 15   customer – he is not damaging Garret by offering a competing service, rather, the damage is
 16   effected by warning potential customers that they will suffer if they continue to do business with
 17   Garret.
 18   1) No Competition Privilege Should Apply
 19             150.   The current matter may appear to be a competition case superficially, but RUBIN
 20   was not offering to substitute for TLPC. Rather he issued several warnings that led De La Huerta
 21   to fear immediate harm if she did not urgently terminate TLPC. RUBIN did not agree to even
 22   consider being retained until he had a chance to review the records and to meet with De La
 23   Huerta in the future. When the meeting arrived, he declared he could not represent her because
 24   she did not have a case.
 25             151.   Here, one can readily see that RUBIN would reasonably have waited to
 26   recommend terminating TLPC until after he had decided he was interested in taking the case and
 27   willing to be retained – if it was a matter of competitive interference. However, he induced De La
 28
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  1   Huerta to terminate TLPC by alleging that features of the TLPC representation would be

  2   immediately harmful to her case, rather than by suggesting that she switch/substitute to use him

  3   as her attorney instead – therefore it is a pure interference case and it is not necessary to prove a

  4   wrongful act to overcome any competition privilege.

  5          152.      The competition privilege is applicable in a cause of action for intentional

  6   interference with prospective economic advantage, but is not generally applicable for intentional

  7   interference with contractual relations, see San Francisco Design Center Associates v. Portman

  8   Companies, 41 Cal.App.4th 29, 43 (1995). It is also applicable for at will contracts see Reeves v.

  9   Hanlon, 33 Cal.4th 1140, 1149 (2004). If RUBIN’s intention was to provide a second opinion

 10   initially and was actually considering representation at the time that TLPC’s contract was

 11   interfered with, then he could allege that he only later decided not to take the case as he learned

 12   more about it.

 13          153.      More particularly however TLPC herein alleges that, RUBIN sought to effect his

 14   second opinion advice by directly ordering TLPC not to file or if filed to withdraw its Emergency

 15   Motion to Quash the Subpoena. To do this he appreciated that he would need to fraudulently pose

 16   as having been hired as counsel as of November 7. However, there is a difference between

 17   considering a case for a second opinion to the client and being able to issue an effective direction

 18   to another attorney who actually is representing the client. Here, RUBIN called into California to

 19   order Filler to take an action – thereby practicing law without a license in California.

 20   Additionally, and importantly he fraudulently represented himself as having taken over as counsel

 21   and as having been retained as counsel by De La Huerta. He did not assert a consulting or co-

 22   counsel relationship. He asserted a replacement. Hillowe refused to give the records copy to

 23   RUBIN because RUBIN could not show he was in a position to override Filler’s direction, even

 24   though RUBIN clearly sought to direct Hillowe to provide an extra paper copy of the records

 25   directly to him.

 26          154.      There can be no ambiguity about the fact that RUBIN was NEVER in a position to

 27   override a plan of action from Filler or Goldberg because he was NEVER retained as counsel.

 28   Although the status – if it indeed existed – of being prospective counsel might confer a duty of
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  1   confidentiality and might confer some sort of attorney-client privilege, it does not confer a power

  2   to override and direct the actions of actual existing counsel. Even his plan to panic De La Huerta

  3   into terminating TLPC urgently would only take effect once a substitution with another attorney

  4   occurred because there was a pending motion before the court of Hon. Charles Solomon.

  5   Therefore, RUBIN fraudulently claimed to be in a position of retained counsel when he ordered

  6   Filler to instruct his associate to withdraw the already filed motion. In this case he was

  7   impersonating retained counsel of De La Huerta although he was most likely retained on behalf of

  8   WEINSTEIN, or at best a second opinion or prospective attorney of De La Huerta.

  9          155.    This is wrongful conduct of sufficient degree to override any competition privilege

 10   even if such privilege applies. The fraud is proven because RUBIN unsuccessfully ordered

 11   Hillowe to ignore TLPC’s direction to send an electronic copy of the records to TLPC in Santa

 12   Monica. This was based on a representation to Hillowe that his directions superseded the

 13   directions of TLPC which Hillowe had been honoring. It would obviously have been preposterous

 14   and ridiculous to Hillowe if RUBIN had identified himself as a prospective attorney or second

 15   opinion attorney ordering him to ignore the directions of TLPC. To effect this, RUBIN

 16   fraudulently represented himself as retained counsel to Filler, to Hillowe and to Rosenthal on the

 17   afternoon of November 7. This is fraud and supports punitive damages. The fraud itself was an

 18   interference with TLPC’s ability to perform under a contract that continued to require TLPC to

 19   act as De La Huerta counsel at that time.

 20          156.    A second fraud was by RUBIN against De La Huerta where he informed her she

 21   must and could immediately terminate representation by TLPC by sending a text. In California,

 22   with a motion pending before a court after counsel has appeared, approval from the court is

 23   required even to proceed with a substitution, and particularly for a proposed transition from being

 24   represented to appearing pro se with a critical high stakes motion about to be heard by the court,

 25   see Filbin v. Fitzgerald 211 Cal.App.4th 154, 170 (2012). Therefore, RUBIN’s instructions to De

 26   La Huerta were fraudulent. Further his attempts to convince Filler and Hillowe that a sudden

 27   change from representation to pro se had occurred and that he could as a prospective or second

 28   opinion counsel order the withdrawal of a motion filed by retained and appeared counsel. This
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  1   only appears as a frantic desperate effort to convince De La Huerta, Filler and Hillowe to

  2   immediately allow him to come to Hillowe’s office and get a paper copy of the psychotherapy

  3   records. He suggests that this is so that the DA will not be frustrated by having to wait a day or

  4   two but this is not only completely unconvincing, but simply in violation of rule and statute.

  5          157.    This is not a matter of RUBIN simply being unaware of California law. An even

  6   more strict requirement is in force in New York under CPLR §321. Under CPLR §321(a) a

  7   consent to the Substitution of Attorney form must be signed at least by the withdrawing attorney

  8   and the party. However, here, CPLR §321(2) applies requiring a noticed motion to obtain an

  9   order of the court, see Centurion Capital Corp v. Guarino 35 Misc.3d 1219(A) *4 (NY Civ,

 10   2012) and General Accident Fire & Life Assurance Corp. v. North American Systems, Inc., 216

 11   A.D.2d 725,726 (NY Appellate Division, 1995). RUBIN made no effort to provide or obtain a

 12   Consent to Change Counsel Form – but rather hoped to obtain the records through a ruse. This

 13   also would have likely waived privilege since he relied on false non-existent authority to override

 14   the direction of counsel in order to attempt to seize the records. Both Hillowe and Filler advised

 15   him he was acting improperly upon which he became enraged pointlessly and unsuccessfully

 16   demanding the records.

 17
      2) Wrongful and Unjustified Advice as to an Urgent Need to Terminate All Representation
 18
             158.    Here, it is reasonably asserted that DEFENDANTS could not interfere by giving
 19
      truthful information to De La Huerta. However, it is abundantly clear that it was not
 20
      DEFENDANT’S intent to provide truthful information. Firstly, we have the prima facie fact of
 21
      the spectacular success of the three weeks of representation – which a) allowed De La Huerta to
 22
      tell her story through the most prominent and well positioned media in the world, wherein she had
 23
      received little or no media coverage for several years (other than coverage of her Lionsgate
 24
      litigation); b) exceeded the success of all other famous powerful and well represented accusers
 25
      (including Ashley Judd, Rose McGowan, Gwyneth Paltrow, Angelina Jolie, Rosanna Arquette,
 26
      Lupito Nyong’o and Kate Beckinsale) and even the most famous attorney in this field – Gloria
 27
      Allred - by putting WEINSTEIN on direct notice of possible imminent arrest if he returned to his
 28
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  1   home, and c) obtaining public statements of endorsement of her case by the New York County

  2   District Attorney, The Mayor of New York City and the Chief of Detectives of New York City

  3   with d) all leading to imminent empaneling of a Grand Jury and likely indictment – an

  4   immanency revealed by District Attorney Rosenthal’s urgent rush to seize all of De La Huerta’s

  5   records before De La Huerta even had a chance to review them. To the extent that all of this

  6   success flowed directly from De La Huerta, rather that from joint work with her counsel, the

  7   actions of counsel clearly did not impede or limit her success in any demonstrable fashion.

  8           159.    In the light of the facts set forth in the previous paragraph we can consider the

  9   veracity of RUBIN’s advice that representation by Filler and Tensor Law must be immediately

 10   terminated if she was to have any chance of success. Thus, RUBIN must have known his advice

 11   was untruthful and clearly rose to the level of a set of defamatory statements, particularly in the

 12   light of the previous five years of professional cooperation and trust between Filler and De La

 13   Huerta. Even if no defamatory statements were made, the comments and advice to De La Huerta

 14   that she must protect her claim by immediately becoming unrepresented were clearly unjustified

 15   in light of the facts.

 16           160.    Further, advising De La Huerta to become unrepresented just after filing of her

 17   crucial Emergency Motion to Quash the Grand Jury Subpoena was unjustified as well as reckless

 18   and unconscionable, not to mention impossible without approval of the court to become pro se at

 19   that point in time. For many affected women, the very reason that they do not report rapes and

 20   that they do not seek criminal prosecution of rapists is that there is little personal benefit from a

 21   criminal conviction – other than a sense of justice achieved – while they risk having every

 22   potentially embarrassing detail of their personal and private lives put on public display and

 23   attacked by defense counsel. This is particularly the case for a celebrity such as Paz De La Huerta

 24   who will likely find any negative or embarrassing life detail in her psychotherapy records

 25   plastered across tabloids and thousands of web pages around the world – an experience she has

 26   encountered previously.

 27           161.    Therefore, for good reason, total public release of portions of these records -

 28   totally unrelated to the WEINSTEIN prosecution - is among her greatest concerns. As her
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  1   attorney, (and as her physician) Filler has a primary responsibility to protect this information from

  2   unnecessary public release. Operationally for the success of the case, there was a valid concern

  3   that potential embarrassment would lead De La Huerta to withdraw from the prosecution – an

  4   unconscionable success for WEINSTEIN at further intimidating and humiliating his victims -

  5   which De La Huerta would reasonably have relied upon her attorney to prevent. It is not even the

  6   case that there necessarily was any information in the records that was so harmful, but that there

  7   is extensive and unfiltered intimacy of conversation over hundreds and hundreds of pages of the

  8   records.

  9

 10   3) RUBIN’S Plan to Create a Devastating and Irremediable Waiver of De La Huerta’s Patient-

 11   Psychotherapist privilege.

 12

 13          162.     Also directly on point as to false and wrongful behavior was RUBIN’s plan to

 14   cause a devastating and irremediable waiver of De La Huerta’s Patient-Psychotherapist privilege

 15   while Filler was still counsel responsible for helping to protect that privilege. It should be clear

 16   that breach of that privilege would not only render the identified Piliero records as open to public

 17   access, but would affect all psychotherapy records from any period in her life, in New York, in

 18   California and elsewhere. An example of a deeply personal set of information would be her

 19   discussions with her therapist around the time of the death of her ex-boyfriend, Stone Temple

 20   Pilots lead singer Scott Weiland. There is nothing wrongful or inappropriate, but this is the type

 21   of intensely personal information that would be laid bare despite a high level of public interest.

 22          163.     In California, the Patient-Psychotherapist privilege is set forth in California

 23   Evidence Code §1014. It is held by the patient, it applies to both psychologists and psychiatrists,

 24   and it differs from the general Patient-Physician privilege in that it applies to criminal actions as

 25   well as to civil actions. In New York, the Patient-Psychotherapist privilege – which is set forth in

 26   New York Consolidated Laws, Civil Practice Law & Rules (CPLR) §4507 is even more

 27   substantive in that is comparable to the attorney client privilege, so that it can only be crossed by

 28   a “so ordered” subpoena from a judge. The reason for the high level of deference is that courts
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  1   have understood that discussions with a therapist reach into the mind of the patient in a way that

  2   exposes far more in the realm of legal relevance than might be revealed by routine medical

  3   information.

  4          164.     WAIVER of the Patient-Psychotherapist Privilege in California is covered under

  5   California Evidence Code §912:

  6
         The right of any person to claim a privilege provided by Section…1014…is waived with
  7      respect to a communication protected by the privilege if any holder of the privilege, without
  8      coercion, has disclosed a significant part of the communication or has consented to disclosure
         made by anyone. Consent to disclosure is manifested by any statement or other conduct of the
  9      holder of the privilege indicating consent to the disclosure, including failure to claim the
         privilege in any proceeding in which the holder has legal standing and the opportunity to
 10      claim the privilege
 11
      Importantly to understanding RUBIN’s shocking conduct is that the privilege is not waived if the
 12
      records are released to a third party unintentionally or by any deceit. The release must be
 13
      documented as having been done by a direct intentional writing by the holder of the privilege –
 14
      e.g. De La Huerta in this situation. Therefore, when RUBIN obtained a one-line email from De
 15
      La Huerta authorizing release to him, the intentional release requirement to accomplish WAIVER
 16
      was met.
 17
             165.     Further, in California, the release does not damage the privilege if is released to a
 18
      person with whom the patient holds a different privilege where reasonably necessary. This would
 19
      mean that it could be released to a persons' attorney without effecting waiver if there was a
 20
      necessary purpose for allowing the attorney to see the records – such as Carrie Goldberg’s review
 21
      of the records to help cooperate with District Attorney Rosenthal by identifying and removing
 22
      irrelevant material. However, RUBIN made sure that De La Huerta would keep RUBIN’s
 23
      involvement secret from FILLER and to keep any discontinuation of FILLER’s representation
 24
      secret until the records were in RUBIN’s hands. This would make it possible to prove that at the
 25
      time that they were obtained by RUBIN, he was not De La Huerta’s attorney. Further, to meet the
 26
      letter of the law to show that his receipt of the physical records was not “necessary” he arranged
 27
      to receive them in paper form on November 7, 2017 so that he could personally deliver them by
 28
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  1   hand to De La Huerta in Seville, Spain on November 12, 2017. Prior to this, De La Huerta

  2   expected to receive them as a securely transmitted PDF to reach her on the 7th, five days earlier

  3   than RUBIN’S personal record delivery could accomplish. Therefore, RUBIN’s physical receipt

  4   of the records coupled with a statement that he would not review them until he met in person with

  5   De La Huerta in Spain were calculated to assure that WAIVER was caused.

  6          166.    In New York, we can look to the 2015, 6th edition of the New York State Bar

  7   Association text “Evidentiary Privileges: Grand Jury, Criminal, and Civil Trials” by Lawrence

  8   N. Gray, Esq. which covers this issue at page 41, §3.9:

  9
         As to waiver by document transfer generally, it has been held that “voluntary disclosure of
 10      privileged material subject to the attorney-client privilege to unnecessary third parties . . .
 11      ‘waives the privilege, not only as to the specific communication disclosed but often as to all
         other communications relating to the same subject matter.’ ”111
 12
      [111]In re Sealed Case, 116 F.3d 550, 562 (D.C. Cir., 1997). Thus it is apparent that had RUBIN
 13
      convinced Hillowe to transfer to him the documents with an approval from De La Huerta, for the
 14
      unnecessary purpose of taking five days to deliver them to her personally in Spain, then De La
 15
      Huerta would have waived privilege – possibly on all patient psychotherapist records where
 16
      anything that might be relevant might appears. Worse, since it would have been a blanket release
 17
      of records on all subjects discussed with her therapist over the two-year period, the waiver as to
 18
      other years might well be completely unrestricted.
 19

 20
      4) The Wrongful Nature of RUBIN’s Actions to Cause Waiver of Privilege
 21
             167.    This attempted act was wrongful because RUBIN directly encouraged De La
 22
      Huerta to do this completely unnecessary and very harmful direction to Piliero to agree to an
 23
      unnecessary release of De La Huerta’s records to this third party. RUBIN did not advise De La
 24
      Huerta of the consequences. This wrongfully violates a duty to inform a person of the
 25
      consequences of such a release. There was no benefit to De La Huerta. Without RUBIN’s
 26
      attempted intervention, the records would have reached De La Huerta and De La Huerta’s
 27
      attorney in electronic format within a few hours. Therefore, the actions were completely
 28
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  1   unnecessary.

  2          168.    The duty clearly pertains to an attorney who is representing the person when he

  3   encourages his own client to commit an act resulting in a waiver of attorney-client privilege. As

  4   with any evidentiary privilege, a lay person is not expected to fully understand the significance of

  5   evidentiary privileges and nor is such a person expected to understand waiver. Therefore, in

  6   directing De La Huerta to cooperate in a series of acts that would result in waiver of her patient-

  7   therapist privilege, RUBIN committed a wrongful act. Like any individual, De La Huerta has

  8   never manifested a desire to release all of her medical records to the public and did not realize

  9   that this would be the results of the action that RUBIN advised her to take.

 10          169.    RUBIN might argue that he had no fiduciary duty nor any duty at all because he

 11   was not representing De La Huerta, never offered to represent her and in fact refused to represent

 12   her. This only proves that his wrongful conduct can be treated as fraud instead of breach of duty

 13   since he made a false statement – that De La Huerta should or must commit actions resulting in

 14   harmful waiver – that De La Huerta relied on these knowingly false statements and that she

 15   would have suffered harm due to her reliance. The fact that FILLER and Hillowe intervened and

 16   prevented RUBIN from obtaining the records does not relieve these actions from being

 17   considered as wrongdoing from the point of view of meeting the elements of the cause of action

 18   for intentional interference with contractual relations.

 19          170.    Having the records in his possession with an undertaking to show them to De La

 20   Huerta in Spain five days later would provide ample time for RUBIN to copy, market and sell

 21   these records. RUBIN knew through widespread media accounts that WEINSTEIN expended two

 22   million dollars to attempt to discourage other actions by his accusers – including the actions of

 23   David Boies, Esq. in retaining “Black Cube” to intimidate New York Times reporters and various

 24   accusers. Further, the contracts offered to Black Cube include “success fees” for obtaining

 25   documents:

 26      The July agreement included several “success fees” if Black Cube met its goals. The firm
 27      would receive an additional three hundred thousand dollars if the agency “provides
         intelligence which will directly contribute to the efforts to completely stop the Article from
 28      being published at all in any shape or form.”
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  1   Ronan Farrow, Harvey Weinstein’s Army of Spies, The New Yorker, November 7, 2017 (see the

  2   Black Cube contract, executed by David Boies at Exhibit F, p4 ¶16 and ¶17 & Exhibit I).

  3          171.    Therefore, a reasonable person in RUBIN’s position would have calculated that

  4   WEINSTEIN would have been prepared to pay considerable sums of money for a full set of De

  5   La Huerta’s psychotherapy records on November 7, 2017 as a Grand Jury indictment appeared to

  6   be imminent. Even if no physical copy was made and no copy was sold, RUBIN would have

  7   physical proof that De La Huerta’s privilege had been waived by express consent. This would

  8   allow WEINSTEIN to subpoena these records, and in fact might allow any person to seek to

  9   obtain them – such as news media. Alternately, RUBIN could reasonably be believed to have

 10   made a deal in advance with WEINSTEIN or through an intermediary wherein RUBIN would be

 11   paid if he could succeed in obtaining a usable waiver for De La Huerta’s psychotherapy records

 12   and perhaps an additional sum of money for a copy of the actual records that could not be traced

 13   to the PDF version prepared by Piliero.

 14          172.    Importantly, getting the paper copy would more effectively cause waiver. The

 15   legal concept of waiver, see 2015, 6th edition of the New York State Bar Association; “Evidentiary

 16   Privileges: Grand Jury, Criminal, and Civil Trials” by Lawrence N. Gray, Esq. page 41, §3.9

 17   requires a showing that the records were provided to a third party for no necessary reason. These

 18   records were scanned into a PDF to reach Filler and De La Huerta instantly on November 7. The

 19   “extra” paper copy provided to RUBIN for personal delivery to Spain was obviously unnecessary.

 20          173.    If we try to imagine an innocent and positive explanation of RUBIN’s actions, that

 21   effort is unavailing. Firstly, could RUBIN have believed that some harm would come to De La

 22   Huerta or to her case if the records had been delivered to her longtime attorney and physician

 23   FILLER as planned? Could RUBIN have believed it would be beneficial to De La Huerta to

 24   unnecessarily and permanently waive her patient-psychotherapist privilege? Could RUBIN have

 25   believed it was beneficial to De La Huerta to have no attorney at all as Judge Solomon considered

 26   release of her psychotherapist records at a hearing on her motion? Could RUBIN have believed

 27   he should be communicating about the case with Assistant District Attorney Maxine Rosenthal –

 28   at a time that announcement of empanelling of a Grand Jury seemed imminent - when at the time
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  1   of the communication RUBIN was not representing De La Huerta? Would it be unreasonable to

  2   ask WHO’s interest RUBIN was acting on behalf of in his astonishing and truly shocking actions?

  3   Any reasonable attorney or lay person would reasonably believe that the only benefit would

  4   accrue to WEINSTEIN (or to THE WEINSTEIN COMPANY or MIRAMAX) on his behalf.

  5          174.    More importantly, we can consider whether RUBIN was in fact naïve and

  6   uneducated with regard to the handling of a rape victim’s psychotherapy record. Sadly, it cannot

  7   be held to be convincing that RUBIN did not understand exactly what he was doing. Firstly, he

  8   had served for several years as a prosecutor in the Bronx County office of the District Attorney.

  9   Then for nearly 20 years, he worked as Defense counsel defending rapists to try to prevent their

 10   indictment or conviction. On his own website he states that in his efforts to protect someone

 11   accused of raping a child he states:

 12      We understand what prosecutors are looking for and what mistakes they are capable of as
 13      they pursue a conviction. We work with private investigators and interview witnesses to
         determine the credibility of the charges against you. We look into social media, text messages,
 14      credit card statements, prior relationships and any other indicators that may affect the
         outcome of your case
 15

 16   Helping Minimize the Consequences of Child Sex Crimes, by Michael F. Rubin, Esq. at
 17   http://www.kellyrubin.com/Criminal-Law/Sexual-Assault/Child-Sex-Crimes.shtml
 18   (see also the figure between paragraph 4 & 5 above in case RUBIN has taken down this web
 19   page). From the words on his website, it is clear that RUBIN understands well the task of defense
 20   counsel hired by an accused rapist for obtaining the mental health records of his client’s accuser.
 21

 22   5) Litigation Privilege Does Not Apply Because It Does Not Protect Statements to Third Parties
 23   Not Involved in the Litigation, Nor Does It Protect Certain Statements to the Press
 24          175.    The potential for application of litigation privilege will have very little usefulness
 25   for any potential efforts to suppress critical evidence in this matter for several reasons. Many
 26   critical communications were made to third parties or in the presence of third parties not having
 27   any interest in any potential litigation. For instance, Bruce Hillowe and his client SueAnne Piliero
 28
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  1   had no stake or interest in any lawsuit or criminal prosecution. Obtaining and reviewing medical

  2   records is specifically found to be outside of the litigation privilege:

  3
          For the reasons explained above, we conclude the litigation privilege does not shield
  4       defendants from liability for reading and disseminating Susan S.'s private mental health
  5       records for the purpose of gathering evidence to be used in the course of a criminal
          proceeding.
  6
       Susan S. v. Israels, 55 Cal.App.4th 1290, 1301 (1997).
  7
             176.     Further when De La Huerta directed Filler to examine these emails with a third
  8
      party for the purpose of investigating RUBIN no litigation privilege was implicated, see Wise v.
  9
      Thrifty Payless Inc. 83 Cal.App.4th 1296, 1304 (2000). The underlying communication related to
 10
      an effort by a patient to obtain her records from her psychotherapist. RUBIN’s actions in this
 11
      event were not part of any action to affect the Grand Jury Subpoena, but rather were directed at
 12
      the irrelevant purpose of obtaining an extra paper copy of the records for the purpose of
 13
      destroying privilege. Similarly, communication between RUBIN and third parties not necessary
 14
      to the litigation – with whom he spoke with in Spain on November 12th - do not implicate an
 15
      absolute litigation privilege.
 16
 17
      6) Neither Litigation Privilege nor True and Nor and Fair & True Reporting Privilege Protects
 18
      RUBIN’s False and Wrongful Statements to Media
 19
              177.    A further critical piece of evidence of an independently sufficient act of
 20
      wrongdoing concerns RUBIN’s false statements to various persons stating that FILLER had been
 21
      terminated and was misrepresenting himself as counsel to De La Huerta. This communication,
 22
      made by RUBIN to Clare Hiler of NBC news on November 8, 2017 is not protected by litigation
 23
      privilege because statements made to the press are not generally protected by litigation privilege:
 24
          For the litigation privilege to apply, there must be a sufficient nexus between the statement
 25       and the litigation. Specifically, the statement must “achieve the objects of the litigation,”
          which requires that it “be connected with, or have some logical relation to the action.”
 26       (Silberg [v. Anderson],[…], 50 Cal.3d at pp. 212, 219–220, 266 Cal.Rptr. 638, 786 P.2d 365
 27       [(1990)]).
      see Argentieri v. Zuckerberg, 8 Cal.App.5th 768, 785 (2017)
 28
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  1
          [T]he litigation privilege should not be extended to “ ‘litigating in the press.'”
  2
      Id at 784.
  3
              178.      No Fair and True Reporting Privilege applies to RUBIN’s statement because he
  4
      knew the statement to Hiler was false at the time he made it. Filler’s previous statements to the
  5
      press were true statements made in good faith and were made for a legitimate litigation related
  6
      purpose, see Argentieri at 778. That purpose was reasonable and special to the particular task of
  7
      attempting to protect the De La Huerta’s criminal complaint by acting to preempt, prevent and
  8
      disrupt a repetition of the complex, aggressive, demoralizing and successful efforts to discredit
  9
      Ambra Battilana Gutierrez in 2015.
 10
              179.      Those 2015 efforts were made by WEINSTEIN to derail a prospective indictment
 11
      and he orchestrated the efforts through his agents LINDA FAIRSTEIN, BLACK CUBE (B.C.
 12
      Strategy UK LTD) and K2 Intelligence, LLC. Those efforts took advantage of a trusting and
 13
      unknowing media to report statements that helped lead the New York District Attorney not to
 14
      seek an indictment for WEINSTEIN’s assault on Gutierrez. RUBIN’s statement was made solely
 15
      to falsely discredit Filler. Filler, by contrast, held a good faith belief at that time and continues to
 16
      hold such a belief that the RUBIN’s purpose in his desperate attempts to obtain an extra paper
 17
      copy of De La Huerta’s psychotherapy records was to provide information to adversaries that
 18
      could be used to discredit De La Huerta through a repetition of WEINSTEIN’s modus operandi
 19
      (see supra ¶105). Because of the identified risk, it was clearly Filler’s continuing duty at that time
 20
      to take all reasonable efforts to disrupt wrongful efforts to access and wrongful efforts to make
 21
      public De La Huerta’s records. Use of a public announcement by Filler was the most effective
 22
      means to disrupt WEINSTEINS “Army of Spies” - to use the descriptive term for WEINSTEIN’s
 23
      methodology that was rightly applied by Ronan Farrow, Esq.
 24

 25
       E) RUBIN’S Actions Have Resulted In Severe or Negatively Dispositive Interference with
 26
                                 Progress Towards Indictment of WEINSTEIN
 27
      1) An Actual Disruption is Alleged Which Made The Necessary Work More Burdensome to
 28
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  1   Perform

  2          180.    Plaintiff must allege (4) an actual breach or disruption of the contractual

  3   relationship. It is not necessary that the contracts be fully breached, but only that their

  4   performance is made more difficult or expensive:

  5
          [“T]he California courts have made clear that “interference'' does not necessarily require
  6      evidence of any “breach.'' In Ramona, the court noted that the California Supreme Court had
  7      previously expanded the tort of inducing breach of contract “to permit liability where the
         defendant does not literally induce a breach of contract, but makes plaintiff's performance of
  8      the contract ‘more expensive or burdensome.’ Ramona, 177 Cal.App.3d at 1131, 225 Cal.Rptr.
         120 (quoting Lipman v. Brisbane Elementary Sch. Dist., 55 Cal.2d 224, 232, 11 Cal.Rptr. 97,
  9      359 P.2d 465 (1961)). Therefore, in order to satisfy this element, Plaintiffs have to offer
         credible evidence that Defendants intentional actions resulted in greater expense or burden on
 10      the performance of its contractual obligations with third parties.”
 11
      Sebastian, 162 F.Supp.2d 1198, 1204-5 (C.D. Cal 2001).
 12
         “Plaintiff need not allege an actual or inevitable breach of contract in order to state a claim for
 13      disruption of contractual relations. We have recognized that interference with the plaintiff’s
         performance may give rise to a claim for interference with contractual relations if plaintiff’s
 14
         performance is made more costly or more burdensome. (See Seaman’s Direct Buying Service,
 15      Inc. v. Standard Oil Co., supra, 36 Cal. 3d 752, 766 (1984) ; Lipman v. Brisbane Elementary
         Sch. Dist. (1961) 55 Cal.2d 224, 232 [11 Cal. Rptr. 97, 359 P.2d 465] ; see also Ramona
 16      Manor Convalescent Hospital v. Care Enterprises, supra, 177 Cal. App. 3d at pp. 1130-1131
         [holdover tenant liable for interference with landlord’s contractual relations with new tenant].)
 17      Other cases have pointed out that while the tort of inducing breach of contract requires proof
         of a breach, the cause of action for interference with contractual relations is distinct and
 18
         requires only proof of interference. (Shamblin v. Berge (1985) 166 Cal. App. 3d 118 [212 Cal.
 19      Rptr. 313] [defendant warned off potential buyers of real estate, causing rescission of sales
         contract]; Manor Investment Co. v. F.W. Woolworth Co. 159 Cal. App. 3d 58 (1984), 593, fn.
 20      3 [206 Cal. Rptr. 37] [termination of at will license could be basis for action for intentional
         interference with contractual relations, but judgment reversed because inconsistent verdicts];
 21      see also Rest.2d Torts, supra, § 766A , at p. 17 & coms. c and g, at pp. 18-19; Prosser &
         Keeton, Torts, supra , § 129, at pp. 991-992; Note, Civil Conspiracy and Interference with
 22
         Contractual Relations (1975) 8 Loyola L.A. L. Rev. 302, 314, fn. 45; Comment, Interference
 23      with Contractual Relations: A Property Limitation (1966) 18 Stan. L. Rev. 1406.)

 24   Pacific Gas & Electric Co. v. Bear Stearns & Co., 50 Cal.3d 1118, 1129 (1990)
 25          181.    Here, TLPC alleges an actual interference and disruption when, on November 7th

 26   at 1:10 pm Pacific Time, RUBIN called into FILLER’s office and falsely ordered him to halt

 27   work, cancel legal filings and or act to withdraw whatever had been filed. He then proceeded to

 28   interfere by contacting the New York District Attorney – Maxine Rosenthal – to provide false
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  1   information including the mis-statement that FILLER was no longer representing De La Huerta,

  2   that he RUBIN was now counsel, that the Motion to Quash was withdrawn, and further incorrect

  3   characterizations of the status, fundamentals and facts of the De La Huerta complaint against

  4   WEINSTEIN. FILLER then contacted Rosenthal who indicated confusion about who was

  5   counsel, and raised concern about the implications of this confusion for the prospects of going

  6   forward to seek indictment of WEINSTEIN. This created an abrupt loss of momentum and loss of

  7   confidence as to De La Huerta’s consistency as a witness should the case go forward because of

  8   the appearance of confusion or conflicting instructions to two attorneys alleged to arise with De

  9   La Huerta.

 10          182.    In fact, none of these communications should have been made by RUBIN – to the

 11   extent that the information was substantially incorrect – and to the extent that it was highly

 12   improper and inexplicable that he should be speaking to the District Attorney for the purpose of

 13   sewing confusion. At no time should a second opinion or prospective replacement attorney

 14   discuss the case with the District Attorney. This made the objective of proceeding towards an

 15   indictment far more difficult. Indeed, several days later – on information and belief – he advised

 16   the district attorney not to proceed with the indictment. This advisement occurred after FILLER

 17   agreed to substitute Goldberg in as counsel. All of the active investigation and witness

 18   development that FILLER had in progress were interrupted and brought to a halt – most of which

 19   were never resumed. That is –RUBIN was not interested at all in learning about the ongoing

 20   investigation, identity of witnesses or other facts of the case. He was only interested in disruption.

 21   The complete failure to request any transfer of case files or to inquire about the investigations

 22   underway by FILLER showed a complete lack of interest in progressing this case of extremely

 23   high national significance. Even later, over the next four days – as RUBIN continued to purport to

 24   De La Huerta that he was seeking the indictment – he made no effort to obtain case information

 25   from FILLER.

 26          183.    By the time that RUBIN was speaking with De La Huerta on November 12 and

 27   making the determination that he should inform De La Huerta and the District Attorney that there

 28   was no case and that De La Huerta should withdraw her complaint – FILLER had already spent
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  1   hours providing details to Goldberg and her legal team and had transferred more than a thousand

  2   documents relevant to the case. Separately, Goldberg’s review of the psychotherapist records

  3   provided to her by Piliero’s counsel revealed a vast amount of intensely personal information as

  4   to many other issues of personal interest to De La Huerta, with only a tiny fraction of those

  5   documents having any relevance or potential interest value for the District Attorney. RUBIN had

  6   access to none of this information when he made his “determination” and “recommendation.”

  7          184.    These facts would lead any reasonable attorney to believe that RUBIN had no

  8   actual purpose of advancing the case for indictment of WEINSTEIN. RUBIN demonstrated no

  9   care or caution to avoid or prevent his activities from interfering with TLPC or with De La

 10   Huerta’s case. There is an implied duty not to disrupt current counsel as he seeks to promote

 11   himself as a replacement for his own commercial reasons. Rather RUBIN’s sole intentions in

 12   these actions – on their apparent face - were to a) interfere with work on this matter at Tensor

 13   Law PC and so to b) interfere with prevent and obstruct the likelihood of indictment of

 14   WEINSTEIN and to c) harm and interfere with FILLER’s standing with De La Huerta,

 15   convincing her she should d) attempt to urgently and immediately become unrepresented while

 16   her critical Motion to Quash was considered by the Court. During this period, as his subsequent

 17   actions reveal, he did not actually intend to take over as counsel.

 18          185.    RUBIN’s actions were designed to cause De La Huerta to believe that it was his

 19   practice to meet with a client in person and to interview the client before agreeing to consider

 20   commencing a representation – this was to explain why he advised her to terminate representation

 21   by TLPC immediately at a time when he was not willing to offer representation. In fact, on

 22   information and belief, he did not ever provide an offer to De La Huerta that would giver her the

 23   power to accept him as counsel.

 24          186.    No privilege was established by RUBIN with De La Huerta because he was an

 25   unsolicited advisor, who had first informed her he was unwilling to take over as counsel until he

 26   visited her in person and then upon meeting with her – simply informed her that he refused to

 27   consider being retained because he did not believe she had a case. This advice was made without

 28   any attempt to obtain transfer of the voluminous evidence held by TLPC nor any attempt to
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  1   proceed with the investigations and witness contacts underway at TLPC on November 8 which

  2   were abruptly halted at RUBINs direction to De La Huerta. Therefore, his communications were

  3   entirely for the purpose of damaging her case and damaging her relationship with her

  4   longstanding attorney, FILLER, and then to proceed immediately to commence undermining De

  5   La Huerta’s confidence in her new attorney Goldberg.

  6             187.   In this, RUBIN took care to avoid incurring any responsibility for protecting

  7   information provided to him by De La Huerta. By making clear to her from the time of his initial

  8   contact, that he was not prepared to consider becoming her attorney, and then – after interviewing

  9   her for several hours under false pretenses – informed her that he was refusing to represent her

 10   because “she had no case” and must withdraw her complaint. Because this was and is presently

 11   the only active criminal investigation of WEINSTEIN close to resulting in an indictment,

 12   RUBIN’s effort, and because of the national prominence and societal importance of this potential

 13   criminal prosecution, this tampering and interference was and is a matter of very significant

 14   public concern, far beyond and in addition to any limitation to personal concerns of De La

 15   Huerta.

 16             188.   Under California law – causing the termination of even an at will contract is a

 17   “break in contract,” caused by interference that meets the standard of interference under this

 18   cause of action and that the cause of action is also subject to being pursued as an interference with

 19   prospective economic advantage as an aspect of interference with a business relationship:

 20
         The great weight of authority is that the tort of interference with contract is merely a species
 21      of the broader tort of interference with prospective economic advantage. [Citations.] Thus,
 22      while the elements of the two actions are similar, the existence of a legally binding agreement
         is not a sine qua non to the maintenance of a suit based on the more inclusive wrong.”
 23      (Buckaloo, [v. Johnson] supra, 14 Cal.3d 823 (1975), 122 Cal.Rptr. 745, 537 P.2d 865, fn.
         omitted.) The Buckaloo court also cited with approval the following language from Builders
 24      Corporation of America v. United States 148 F.Supp. 482 (N.D.Cal.1957) : “Both the tort of
         interference with contract relations and the tort of interference with prospective contract or
 25      business relations involve basically the same conduct on the part of the tortfeasor. In one case
 26      the interference takes place when a contract is already in existence, in the other, when a
         contract would, with certainty, have been consummated but for the conduct of the tortfeasor
 27      ....” (Id., at p. 484, fn. 1.)

 28    Manor Investment Co v. FW Woolworth 159 Cal.App.3d 586, 593 (1984). This is viewed in the

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  1   light of Reeves v. Hanlon, supra, in the sense that an “at will” contract can be viewed as a

  2   situation where any renewal, from time to time, can be viewed as a business expectation subject

  3   to interference:

  4      [W]e hold that inducing the termination of an at-will employment relation may be actionable
  5      under the standard applicable to claims for intentional interference with prospective economic
         advantage.
  6
      Reeves at 1144.
  7
         May the tort of interference with contractual relations be predicated upon interference with an
  8      at-will contract? Historically, the answer is yes. A third party's “interference with an at-will
         contract is actionable interference with the contractual relationship” because the contractual
  9      relationship is at the will of the parties, not at the will of outsiders. (Pacific Gas & Electric
 10      Co. v. Bear Stearns & Co., supra, 50 Cal.3d at p. 1127, 270 Cal.Rptr. 1, 791 P.2d 587;
         Speegle v. Board of Fire Underwriters 29 Cal.2d 34 (1946), 39, 172 P.2d 867.)
 11
      Reeves at 1148.
 12
      2) This Was Not an At-Will Contract at the Time It Was Disrupted
 13
             189.    Factually, an at-will contract can be terminated by either party at any time, but this
 14
      was not an at-will contract at the time it was disrupted. At the time of this attempted disruption,
 15
      there was no power for either party to terminate because a motion was before the New York
 16
      Supreme court within a few days of a hearing and De La Huerta had not identified either a
 17
      substitution with another law firm or permission for the court for the client to become pro-se with
 18
      a motion pending was required.
 19
             190.    The focus of the issue is not a mere technicality. In at will contract – particularly
 20
      for the purposes of this tort analysis – a disruption causes an interference with an expectancy
 21
      rather than a required performance. Here, the disruption did not relieve Tensor Law from its duty
 22
      to appear in New York Supreme Court to argue this motion – performance was still due. A failure
 23
      to appear by Tensor Law with result of the public release of the Clients very personal records
 24
      would clearly subject Tensor Law to liability for breach of duty. In particular, throughout the
 25
      Lionsgate litigation, TLPC was obligated to assure that no emotional distress cause of action
 26
      could be pled that would put her psychotherapy records at issue and make them discoverable.
 27
      This obligation continued although RUBINS actions made this duty more difficult to perform.
 28
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  1          191.    The typical model for an at-will contract is in the employment setting wherein an

  2   employee is paid for work performed and then terminates employment. The contract of

  3   employment is ended and neither party has a resort to require further performance of the duties.

  4   Here, however, no payment for services had taken place, so that significant performance by De

  5   La Huerta was pending. From that perspective this is additionally a fee dispute wherein a third

  6   party – RUBIN – is inducing a breach of performance by one party, as opposed to a repetitively

  7   completed contract from which both parties can walk away, leaving only future potential

  8   expectancy as unfulfilled. For all of these reasons, this is not the species of interference wherein

  9   termination of an at will contract affects a mere expectancy, but rather it is a disruption that

 10   affects continuing duties to perform as to both parties. It additionally makes the collection of any

 11   payment due to TLPC more burdensome by, e.g. requiring a first law firm to sue an intervening

 12   second law firm to obtain quantum meruit payment for services and reimbursement of costs as

 13   opposed to executing an agreed apportionment upon funds in a trust account.

 14

 15                         F) RUBIN’s Actions Resulted in a Break in Contract

 16
 17   1) Causation is Readily established for Making the Objective of Obtaining an Indictment of

 18   WEINSTEIN More Difficult as Well as Less Likely

 19

 20          192.    The fifth element of the cause of action (5) is the demonstration of resulting

 21   damage. This element raises two issues, firstly there is the appropriate means of identifying

 22   causation and secondly there is the question of what sort of damages are actionable once the first

 23   four elements and causation are established.

 24          193.    The standard for causation under California law in cases of intentional interference

 25   with contractual relations is articulated in Bank of New York v. Fremont:

 26      California employs the “substantial factor” test for determining causation in intentional torts
 27      cases. See Franklin v. Dynamic Details, Inc., 116 Cal.App.4th 375, 10 Cal.Rptr.3d 429, 441
         (2004) (applying the substantial factor test in an intentional interference with contractual
 28      relations action and noting that “a cause of ... damage ... is something that is a substantial
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  1       factor in bringing about ... damage”). “The substantial factor standard generally produces the
          same results as does the ‘but for’ rule of causation which states that a defendant's conduct is a
  2       cause of the injury if the injury would not have occurred ‘but for’ that conduct.” Rutherford v.
          Owens-Illinois, Inc., 16 Cal.4th 953, 67 Cal.Rptr.2d 16, 941 P.2d 1203, 1214 (1997) (citing
  3
          Mitchell v. Gonzales, 54 Cal.3d 1041, 1 Cal.Rptr.2d 913, 819 P.2d 872, 879 (1991) ).
  4       California law defines “substantial” expansively, and at least one court has cautioned against
          placing “undue emphasis” on the ordinary meaning of that word. Rutherford, 67 Cal.Rptr.2d
  5       16, 941 P.2d at 1214. Although “a force which plays only an ‘infinitesimal’ or ‘theoretical’
          part in bringing about injury, damage, or loss is not a substantial factor,” the substantial factor
  6       test is a “broader rule of causality than the ‘but for’ test.” Id. (citing People v. Caldwell, 36
  7       Cal.3d 210, 203 Cal.Rptr. 433, 681 P.2d 274, 280 (1984) ; Prosser & Keeton on Torts (5th
          ed.1988 supp.) § 41, pp. 43-44); see also U.S. Fid. & Guar. Co. v. Am. Employer's Ins. Co.,
  8       159 Cal.App.3d 277, 205 Cal.Rptr. 460, 465 (1984) (“The critical question as to causation in
          intentional torts is whether the actor's conduct is a substantial factor in bringing about the type
  9       of harm which he intended from his original act. [N]o consideration is given to the fact that
          after the event it appears highly extraordinary that it should have brought about such harm or
 10       that the actor's conduct has created a situation harmless unless acted upon by other forces for
 11       which the actor is not responsible”) (quoting Tate v. Canonica, 180 Cal.App.2d 898, 5
          Cal.Rptr. 28, 35 (1960)) (internal citations and some punctuation omitted).
 12
      Bank of New York v. Fremont General 523 F.3d 902, 909 (9th Circuit 2008).
 13
              194.    Here, TLPC alleges that causation and harm are readily and actually shown. After
 14
      five years of cooperative effort between FILLER and De La Huerta – RUBIN brought about a
 15
      termination of representation directly through and as the purpose of his interference. Indeed,
 16
      RUBIN’s sole purpose was to deny De La Huerta access to her extremely effective counsel for
 17
      the purpose of aiding WEINSTEIN. Whether the relationship between RUBIN and WEINSTEIN
 18
      or with TWC is a) as co-conspirators or b) as Undisclosed Principal and Agent; or if RUBIN in
 19
      breaking the representation, c) simply hoped to collect a fee from WEINSTEIN or from TWC if
 20
      he could damage the case; and or to d) obtain the psychotherapy records to sell to WEINSTEIN’s
 21
      defense counsel is immaterial to RUBIN’s liability, or whether RUBIN acted on his own personal
 22
      disdain for De La Huerta’s cause of action is ultimately immaterial as to intent and causation in
 23
      relation to the tort of interference with contractual relations.
 24
              195.    Causation in California is according to a principle of a “substantial factor” analysis
 25
      that is somewhat different from the “proximate cause” standard in use in other jurisdictions in that
 26
      also incorporates the “but for” analysis, see Mitchell v. Gonzales, 54 Cal.3d 1041, 1052 (1991).
 27
      Here, the “but for” analysis has four prongs – firstly: extensive reliance of De La Huerta upon
 28
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  1   TLPC and Filler across many years and in many circumstances – secondly: an extremely high

  2   level of success by TLPC with the objectives of De La Huerta in this WEINSTEIN matter at the

  3   time of termination – thirdly: continued reliance of De la Huerta on TLPC for other matters after

  4   the termination re-WEINSTEIN –and fourth: RUBIN’s role as the sole source of aggressive legal

  5   advice to De La Huerta that TLPC – was a) wrongly communicating to the press, that TLPC was

  6   b) wrongly practicing in New York, that TLPC was c) wrongly protecting her records from the

  7   DA’s subpoena and that it was extremely important d) to urgently and immediately terminate

  8   TLPC so that RUBIN could gain physical possession of the psychotherapy records for the

  9   purpose of carrying them personally to Spain.

 10           196.    Proximate cause is shown clearly in the email exchange between RUBIN and De

 11   La Huerta shown at figure 5 supra. RUBIN directs De La Huerta to provide a release to Hillowe

 12   so that he can give an extra copy to RUBIN. De La Huerta immediately does as she is directed by

 13   RUBIN even though this would have caused a severe and irreparable harm by waiving her

 14   privilege against discovery of her psychotherapy records – an outcome that she did not desire, did

 15   not understand and which she had labored extensively to avoid over many years. The level of

 16   confidence and control RUBIN had developed with De La Huerta is well shown and in this

 17   example it is readily shown that RUBIN proximately caused her to take this action. Further,

 18   because at this time, Filler was actually still counsel in this matter and it was still Filler’s duty to

 19   protect De La Huerta’s records, this proximately caused action did directly interfere with Filler’s

 20   performance of his contractual duties. The confusion engendered by this pattern of De La Huerta

 21   taking this order directly from RUBIN demonstrates how he was able to direct her to actually

 22   terminate TLPC’s representation of De La Huerta in this matter.

 23

 24   2) The Amount of Pecuniary Damages is Susceptible to Being Accurately Established

 25           197.    The damages that are actionable arise from both the contractual and the tortious

 26   aspects of this cause of action:

 27      “The measure of damages for intentional interference with contractual relations or prospective
 28      economic advantage is “an amount that will reasonably compensate plaintiff for all loss or

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  1      harm, providing that you find it was [or will be] suffered by plaintiff and caused by the
         defendant's conduct.” (BAJI No. 7.89 ; see also Youst v. Longo (1987) 43 Cal.3d 64, 71, fn. 6,
  2      233 Cal.Rptr. 294, 729 P.2d 728 [damages for interference with prospective economic
         advantage are “economic harm to the plaintiff proximately caused by the acts of the
  3
         defendant”].) The amount of such harm or loss includes “[t]he financial loss of the benefits of
  4      the [contract] [or] [the prospective economic relationship].” FN7 (BAJI No. 7.89.) FN7. BAJI
         No. 7.89 is derived from the Restatement Second of Torts, section 774A, which states, in
  5      relevant part: “(1) One who is liable to another for interference with a contract or prospective
         contractual relation is liable for damages for [¶] (a) the pecuniary loss of the benefits of the
  6      contract or the prospective relation; [¶] (b) consequential losses for which the interference is a
  7      legal cause; and [¶] (c) emotional distress or actual harm to reputation, if they are reasonably
         to be expected to result from the interference.” (See Di Loreto v. Shumake (1995) 38
  8      Cal.App.4th 35, 38–39, 45 Cal.Rptr.2d 22.) The Restatement Second of Torts recognizes a
         proper plaintiff may recover lost profits when a third person is prevented from performing a
  9      contract with that plaintiff and, on a claim for interference with prospective economic
         advantage, may recover the lost profits to have been made out of the expected contracts.
 10      (Rest.2d Torts, § 774A , com. b, p. 55.)
 11
      Sole Energy Company et al v. Petrominerals Corporation et al, 128 Cal.App.4th 212, 232-233;
 12   26 Cal.Rptr.3d 798 (2005).

 13
             198.    In regard to WEINSTEIN, success in the criminal case was required in order to
 14
      proceed with the civil case. Thus, disruption of the criminal case interfered with the ability of
 15
      TENSOR LAW P.C. to obtain a contingency fee. TENSOR LAW P.C. has been prepared to
 16
      allege that De La Huerta suffered pecuniary harm because WEINSTEIN played a roll in causing
 17
      De La Huerta to be terminated off of her then active HBO series Boardwalk Empire which
 18
      termination at the end of the second of the five seasons of the series, followed closely upon her
 19
      accusation to WEINSTEIN in January of 2011 that he was a rapist. Note that these damages arise
 20
      because it is alleged that WEINSTEIN 1) took punitive and retaliatory action against De La
 21
      Huerta in response to her accusations and denunciations and 2) that De La Huerta’s public
 22
      displays of distress resulting from the confrontations (e.g. the Chateau Marmont episode of
 23
      January 17, 2011) led to her termination – thus the damages do not rely on criminal proof of the
 24
      assault nor do they necessarily rely on proof of retaliation.
 25
             199.    On information and belief, the financial harm of being terminated off of
 26
      Boardwalk Empire constituted a loss of income and loss of future work valued at $5 million. The
 27
      termination occurred while De La Huerta was receiving wide spread acclaim for her role in that
 28
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  1   series. Whether the termination was a result of a retaliatory act by WEINSTEIN or whether the

  2   termination was due to psychological damage and deterioration suffered and publicly

  3   demonstrated by De La Huerta commencing in January of 2011 in consequence of the interaction

  4   with Weinstein, these constitute a separate basis for determining the potential value of recovery

  5   from a civil litigation in the mater of WEINSTEIN and De La Huerta.

  6           200.    In addition, although De La Huerta was injured on the set of “Nurse” – a Lionsgate

  7   production – in 2011, California courts may find that the subsequent substantial collapse of her

  8   film career was not due to the Lionsgate injury. If that fact is established, then De La Huerta

  9   would have looked to WEINSTEIN for the substantial cause of these career harms which she has

 10   valued at $55 million in her action against Lionsgate. To the extent that RUBIN’s interference

 11   caused TENSOR LAW PC to lose its contingency fee on $60 million of liabilities, a typical or

 12   conservative 33% contingency rate results in damage of $20 million to Tensor Law PC directly

 13   attributable to RUBIN’s actions.

 14           201.    In addition Plaintiff suffered consequential damages in being forced to expend in

 15   funds to bring this current suit:

 16
         “A person who through the tort of another has been required to act in the protection of his
 17      interests by bringing or defending an action against a third person is entitled to recover
 18      compensation for the reasonably necessary loss of time, attorney’s fees, and other expenditures
         thereby suffered or incurred. (Stevens v. Chisholm, 179 Cal. 557 (1919), 564 [178 P. 128]
 19      (1919); Nelson v. Kellogg, 162 Cal. 621 (1912) , 623 [123 P. 1115 , Ann.Cas. 1913D 759];
         Contra Costa County Title Co. v. Waloff, 184 Cal.App.2d 59 (1960), 67 [9a] [7 Cal.Rptr. 358]
 20      ; Rest., Torts (1939) § 914; 15 Am.Jur. (1938) Damages, § 144, p. 552; 25 C.J.S. (1941)
         Damages, § 50c, p. 534; cf. Estate of Williamson, supra, 150 Cal.App.2d 334 (1957), 341.)
 21
      Prentice v. North American Title Guaranty Corp, 59 Cal. 2d 618, 620 (1963). Thus any attorneys
 22
      fees incurred will be sought as well along with punitive damages.
 23
              202.    Further, it is alleged that TLPC suffered actual determinable pecuniary harm by
 24
      the loss of ability to collect it’s non-contingent quantum meruit costs encountered in the
 25
      representation of De La Huerta in the WEINSTEIN matter because of the loss of goodwill and
 26
      interference of RUBIN’s attack on its representation of De La Huerta.
 27

 28
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  1         G. Direction by an Undisclosed Principal to Interfere with Contractual Relations

  2   1) Allegation of Undisclosed Principal Status for WEINSTEIN and/or THE WEINSTEIN

  3   COMPANY

  4

  5          203.    Plaintiff further alleges a possible status of undisclosed principal as to

  6   WEINSTEIN’s relationship with or TWC’s relationship with RUBIN as distinct from conspiracy

  7      Civil conspiracy is “a legal doctrine that imposes liability on persons who, although not
  8      actually committing a tort themselves, share with the immediate tortfeasors a common plan or
         design in its perpetration. [Citation.] By participation in a civil conspiracy, a coconspirator
  9      effectively adopts as his or her own the torts of other coconspirators within the ambit of the
         conspiracy. [Citation.] In this way, a coconspirator incurs tort liability co-equal with the
 10      immediate tortfeasors.” (Applied Equipment Corp. v. Litton Saudi Arabia Ltd., supra, 7
         Cal.4th 503, 510 (1994)–511, 28 Cal.Rptr.2d 475, 869 P.2d 454 .)
 11
      American Master Lease LLC v. Idanta Partners LTD, 225 Cal.App.4th 1451, 1473 (2014).
 12
             204.    Here there is no discernible personal motive for RUBIN to interfere with and
 13
      disrupt the contractual relations which were intended to accomplish a criminal indictment of
 14
      Harvey WEINSTEIN. Often, interference with contract is done for competitive reasons, but in
 15
      this case, RUBIN took care to assure that he never developed an attorney-client relationship with
 16
      De La Huerta and ultimately advised her she had no case and should withdraw her claim against
 17
      WEINSTEIN. These actions place RUBIN’s law license in jeopardy because he appears to have
 18
      obtained confidences from De La Huerta under her mistaken belief that RUBIN was trying to aid
 19
      her objectives when in fact he was trying to prevent her from achieving her objectives. These
 20
      confidences were then shared with a third party. He acted to create a waiver that would place all
 21
      of her personal therapy records in a position of exposure and availability to WEINSTEIN and
 22
      potentially to the entire public, while attempting to convince her to drop the case. Immediately
 23
      after interfering and undermining FILLER, RUBIN proceeded to interfere with and undermine
 24
      Goldberg who was then trying to advance the case.
 25
             205.    WEINSTEIN has been shown to have expended millions of dollars to prevent any
 26
      case such as De La Huerta’s from emerging and proceeding. He managed to retain David Boies to
 27
      undermine and intimidate New York Times reporters, even while Boies was retained by the New
 28
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  1   York Times. This modus operandi is consistent with what WEINSTEIN sought to achieve with

  2   RUBIN as to De La Huerta. Because a criminal conviction would have devastating impact on

  3   WEINSTEIN and greatly disadvantage him in a hundred other civil actions against him, he will

  4   have placed a very high financial value on disrupting and defending against the criminal

  5   conviction against him sought by De La Huerta.

  6             206.   THE WEINSTEIN COMPANY devised arrangements to intimidate victims of

  7   sexual harassment and to discourage them from proceeding against WEINSTEIN. Common

  8   purpose with WEINSTEIN and RUBIN is established by these actions. Therefore, Undisclosed

  9   Principal, or conspiracy or, where applicable, aiding and abetting of interference, bring DOES 1

 10   to 10 – through whom RUBIN conveyed to WEINSTEIN and THE WEINSTEIN COMPANY

 11   and DOEs 11 to 20 – through whom RUBIN received commitments of benefits from

 12   WEINSTEIN and THE WEINSTEIN COMPANY into this cause of action. These DOES are thus

 13   defendants alongside their contact, retained attorney, or potential vendor of stolen information –

 14   RUBIN. This is equally true if RUBIN was an agent’s agent and whether or not he ever met

 15   personally with WEINSTEIN or ever had any direct discussion with WEINSTEIN.

 16
      2) The Existence of Agency Can Be Implied By Conduct
 17

 18             207.   Establishment of the existence of Agency is detailed in California Civil Jury
 19   Instruction §3705. Under California law:
 20
         The creation of an agency relationship is not dependent upon the existence of a written
 21      agreement. The relationship may be implied based on conduct and circumstances (Thayer v.
         Pacific Elec. Ry. Co. (1961) 55 Cal.2d 430, 438, 11 Cal.Rptr. 560, 360 P.2d 56 ; Pollack v.
 22      Lytle (1981) 120 Cal.App.3d 931, 940, 175 Cal.Rptr. 81 ),
 23   Scholastic Book Clubs Inc. v. State Bd. Of Equalization 207 Cal.App.3d 734, 738 (1989), and see

 24   also Michelson v. Hamada 29 Cal.App.4th 1566,1579 (1994) (“Agency may be implied from the

 25   circumstances and conduct of the parties”) citing to Bergtholdt v. Porter Bros Co. 114 Cal. 681

 26   (1896).

 27      Where circumstantial evidence is resorted to for the purpose of establishing an agency, all the
 28      facts and circumstances showing the relation of the parties, and throwing light upon the

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  1      character of such relation, are admissible in evidence.
  2   Bergtholdt at 688. See also Smith v. Schuttpelz 1 Cal.2d 158 (1934):

  3      The relation of agency need not depend upon express appointment and acceptance thereof, but
         it may be, and frequently is, implied from the words and conduct of the parties and the
  4
         circumstances of the particular case.
  5
      Smith v. Schuttpelz at 161.
  6

  7
             208.    Here, the actions of RUBIN are tortious and violate the American Bar Association
  8
      Model Rules, the New York Bar Association Rules of Professional Ethics and California Rules of
  9
      Professional Conduct. A knowledgeable experienced attorney would know of the high jeopardy to
 10
      his career resulting from these acts, yet these acts appear to have little or no potential benefit to
 11
      RUBIN himself. In general commercial transactions, the true beneficiary of the acts of an agent
 12
      with an undisclosed principal may be difficult to determine or prove – this is the situation in some
 13
      cases of undisclosed principal wherein several fruit buyers are acting in concert to affect prices,
 14
      but it is difficult to prove which larger entity may be uniquely benefiting, because there are many
 15
      potential beneficiaries. However, here, the objective and potential gain from the acts undertaken
 16
      are only to impede and impair a criminal prosecution of a single person – Harvey Weinstein and
 17
      possibly The Weinstein Company. Further there is valid grounds for admitting facts as
 18
      circumstantial evidence that Weinstein himself hired attorneys to attempt to subvert and interfere
 19
      with efforts to prove sexual assaults by other accusers such as Rose McGowan.
 20
             209.    Thus with the pattern of activity provable for this very class of unusual conduct by
 21
      WEINSTEIN (retaining an attorney to conduct sub-rosa acts to gain the confidence of an accuser
 22
      for purposes of disrupting the accusers ability to act against him), with the motive attributable to
 23
      only WEINSTEIN and/or – to a slightly lesser extent - to THE WEINSTEIN COMPANY and
 24
      with the facts of the actions to subvert the advancement of the De La Huerta case towards an
 25
      indictment, a reasonable attorney, and indeed any court could readily conclude that RUBIN acted
 26
      as the agent of WEINSTEIN or of THE WEINSTEIN COMPANY.
 27

 28
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  1              H. Summary As To Intentional Interference With Contractual Relations

  2            210.   As a direct and proximate result of Defendants unlawful conduct, Plaintiff has

  3   suffered economic harm and other consequential damages all in an amount according to proof at

  4   trial.

  5            211.   The acts of Defendants, as alleged herein were willful, wanton, and malicious and

  6   were intended to oppress and cause injury to Plaintiff. In light of the willful, wanton, malicious

  7   and intentional conduct engaged in by Defendant, Plaintiff is entitled to an award of punitive

  8   damages.

  9            212.   Alternatively to conspiracy, however, Plaintiff alleges that – subject to proof –

 10   Harvey WEINSTEIN or THE WEINSTEIN COMPANY were the Undisclosed Principal, and

 11   will elect among RUBIN as principal or WEINSTEIN as principal or TWC as principal upon

 12   such proof or at the necessary time of election, see Klinger, supra; Luce, supra; Schnier, supra;

 13   and Patterson, supra.

 14

 15   I. Exemption and Immunity as to any Anti-SLAPP Special Motion to Strike Under Cal CCP

 16                                                  §425.16

 17            213.   This litigation asserts exemption, immunity and inapplicability as to California

 18   Code of Civil Procedure §425.16 on three grounds. Firstly, under a setting of simultaneous

 19   adverse representation – no protected litigation privilege exists, see Coretronic Corporation v.

 20   Cozen O’Connor, 192 Cal.App.4th 1381, 1392 (2011). Simultaneous adverse representation is

 21   fully and adequately pled herein. In such actions, it is the intentional provision of a false

 22   appearance of fiduciary duty that is the interference making TLPC’s representation more

 23   burdensome and not any actual attorney work, see California Back Specialists Medical Group v.

 24   Rand, 160 Cal.App.41th 1032, 1037 (2008) and Benasra v. Mitchell Silberberg & Knupp LLC,

 25   123 Cal.App.4th 1179, 1189 (2004).

 26            214.   Secondly, the first count of interference complains of an effort to obtain

 27   confidential records. This is a physical action and the fact that speech and writing were used in

 28   the attempt to obtain a physical copy of the records does not make that attempt an exercise of
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  1   protected speech. The action is for a wrongful effort to obtain confidential information and is not

  2   directed at the speech or communication per se which is only incidental. The breach in fiduciary

  3   duty to De La Huerta which automatically arises in the setting of an adverse representation is also

  4   not a communicative act itself, nor is the interference with contract, see Okorie v. Los Angeles

  5   Unified School District, 14 Cal.App.5th 574, 586 (2017).

  6          215.    Thirdly, Plaintiff TLPC is exempt under the public interest exception in that it

  7   hereby provides that all financial benefit from this action will be donated to the public in a

  8   50%/50% split between the Times Up Campaign and the sexual assault victim Paz De La Huerta

  9   who’s rights the Principal defendant in this matter sought to tamper with both by and through

 10   RUBIN’s actions. Specifically, as outlined at Tourgeman v. Nelson & Kennard 222 Cal.App.4th

 11   1447, 1458-1459 (2014), the action is brought solely in the public interest to expose and prevent

 12   further use of the WEINSTEIN modus operandi of using former Assistant District Attorneys and

 13   intelligence units such as K2 Intelligence and Black Cube to intimidate, humiliate and deny rights

 14   as to sexual assault accusers, while pressuring any District Attorney not to seek indictments for

 15   such assaults. Success in this action will confer a significant benefit on the public – here, not

 16   only the scores of individuals affected by Weinstein, but many others who have been so

 17   intimidates as to avoid coming forward to assert their rights or seek justice. Private enforcement

 18   was necessary because the actionable means of misbehavior through which rights were denied

 19   was by interference with a contract by the offending third party. Private enforcement placed a

 20   disproportionate burden on the plaintiff because of the need for a party with an actionable harm to

 21   proceed to seek redress. The Plaintiff has standing because the Plaintiff is uniquely affected by

 22   the particular interference complained of, see e.g. Weiner v. City of Los Angeles, 68 Cal.2d 697,

 23   706 (1968). All of this is in addition to the fact that this complaint does make an adequate prima

 24   facie case for success of its cause of action.

 25

 26          VI. SECOND CAUSE OF ACTION: TORTIOUS INTERFERENCE WITH A

 27                            PROSPECTIVE ECONOMIC ADVANTAGE

 28         (as against RUBIN, alternatively upon election against any Undisclosed Principal
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  1                                        & against DOES 1 to 50)

  2

  3          216.    Plaintiff realleges and incorporates by reference as though fully set forth herein,

  4   each and every allegation set forth above in this Complaint.

  5          217.    To the extent that a court may find that the business relations between Tensor Law

  6   PC and Paz De La Huerta do not constitute contractual relations, the same assertions made in

  7   cause of action for Tortious Interference with Contractual Relations are realleged, restated, and

  8   reasserted here.

  9

 10

 11       VII. THIRD CAUSE OF ACTION: PRACTICING LAW WITHOUT A LICENSE –

 12              VIOLATION OF CAL. BUSINESS & PROFESSIONAL CODE §6126

 13                                    (As Against Defendant RUBIN)

 14

 15          218.    Plaintiff realleges and incorporates by reference as though fully set forth herein,

 16   each and every allegation set forth above in this Complaint.

 17          219.    Routine contacts between attorneys in different states is necessary in many

 18   situations to reasonably conduct routine activities. However, in the current matter, RUBIN called

 19   into the law offices of Tensor Law PC and gave a series of orders and directions to FILLER

 20   affecting both New York and California matters. These actions constituted the practice of law

 21   without a license in violation of California Business and Professional Code §6126.

 22          220.    RUBIN informed Filler – falsely – that FILLER has been terminated as counsel,

 23   he informed falsely that he was an attorney representing De La Huerta, he sought information

 24   from FILLER in relation to a pending court filing, he ordered Filler to halt or withdraw the legal

 25   filing. The fact that the filing was for a New York Court does not change the fact he was

 26   materially attempting to direct and control actions of attorneys in California. The order for

 27   termination of legal action from RUBIN to FILLER also included a Complaint for Sexual

 28   Harassment by De La Huerta against Harvey WEINSTEIN for events in California, which had
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  1   been drafted but not yet filed.

  2                                     VIII. PRAYER FOR RELIEF

  3

  4             1.   General damages in an amount to be shown according to proof at the time of trial.

  5             2.   Special damages in an amount to be shown according to proof at the time of trial.

  6             3.   Punitive and exemplary damages in an amount appropriate to punish or se an

  7                        example of Defendant.

  8             4.   Cost of Suit.

  9             5.   Such other and further relief as this court deems just and proper.

 10

 11   Date: February 22, 2018                              Chanel Katiraie, Esq.

 12                                                        Aaron G. Filler, Esq.

 13

 14

 15                                                        Chanel Katiraie, Esq.
 16
                                                           Aaron G. Filler, Esq.
 17                                                        Chanel Katiraie, Esq.
                                                           TENSOR LAW PC
 18
                                                           Attorneys for Plaintiff, TENSOR LAW, PC
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  1

  2                                   DEMAND FOR JURY TRIAL

  3

  4         Plaintiff hereby demands a jury trial in this action.

  5

  6

  7   Date: February 22, 2018                              Chanel Katiraie, Esq.

  8                                                        Aaron G. Filler, Esq.

  9

 10

 11                                                        Chanel Katiraie, Esq.
 12
                                                           Aaron G. Filler, Esq.
 13                                                        Chanel Katiraie, Esq.
                                                           TENSOR LAW PC
 14                                                        Attorneys for Plaintiff, TENSOR LAW, PC
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     1                                           VERIFICATION
          I declare that:
     2
          I have read the VERIFIED COMPLAINT filed by Tensor Law PC in Case:
     3    titled: TENSOR LAW PC v. MICHAEL F. RUBIN, an individual; HARVEY WEINSTEIN,
     4    an individual; THE WEINSTEIN COMPANY, K2 INTELLIGENCE LLC; LINDA
          FAIRSTEIN; BC STRATEGY UK LTD and DOES 1-50, having the following causes of
     5    action: (1) Intentional Interference with Contractual Relations; (2) Intentional Interference
          with Prospective Economic Advantage; (3) Practicing Law Without A License - Violation Of
     6    Cal. Business & Professional Code §6126 and understand its contents.
     7
          001 am the Person Most Knowledgeable for a party to this action. The matters stated in
     8         the foregoing document are true of my own knowledge except as to those matters
               which are stated on information and belief, and to those matters I believe them to
     9         be true. I am informed and believe and on that ground allege that the matters stated
    10         in the foregoing document are true.

    11     D I am a party to the above entitled action. The matters stated in the document described
    12         abov e are true of my own knowledge except as to those matters which are stated
               on information and belief, and as to those matters I believe them to be true.
    13

    14     □ I am one   of the attorneys for ___________, a party to this action. Such
    15         party is absent from the county of aforesaid where such attorney's have their
               offices, and I make this verification for and on behalf of that party for that reason. I
    16         am informed and believe and on that ground allege that the matters stated in the
    17         foregoing document are true.

    18    Executed on February 22, 2018 at Santa Monica, California.

    19    I declare under penalty of perjury under the laws of the State of California, of the State
               for New York, and of the United States of America that the foregoing is true and
    20
               correct.
    21
    22    Aaron G. Filler

    23    Type or Print Name
    24
    25
    26
    27

    28
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